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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


UNITED STATES OF AMERICA             )

            v.                       )      No. 08 CR 846

JON BURGE                            )      Judge Lefkow



                   SEPARATE APPENDIX
                           TO
 RALPH HARRIS'S MOTION TO INTERVENE TO OBTAIN THE GRAND
   JURY TRANSCRIPTS OF GOVERNMENT WITNESS MICHAEL
 MCDERMOTT AND RELATED DOCUMENTS IN THE POSSESSION OF
           THE UNITED STATES ATTORNEY'S OFFICE




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                                APPENDIX A
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                 IN THE CIltCUTT CUURT O~` CDOK COUNTY, LIN
                     C4UNTX AEP~1i2.T`MENT, CRIMIlVAL DIVISION

                                                                                                JUG ~ ~ 2~i4
 PEOPLE OF THE STATE OF TLLINOTS, )                                                                                             .;
                                                                                       GLEFtK Ui= 'fHE ~:II~(;~~ir courr ~
         Plaintiff~Respondent;                  )                                           i;3' COpK COtJN7Y, !i_
                                                }               Post-Convict ion    +~--~~. _.. _....,M. ~.. _ _....._.:~:.-~_.-..._
                 v-                             )               95-CR-27S 01

 RALPH HARRIS,                                  }               Hon. Dennis J. Porter,
                                                }               Judge presiding.
      ''`Defmdant-Petitioner•,                  }


                                                ~~ ~

         ~'etztxonEr, Ralph Harris, seeks post-conviction relief frarn the judgzx~ent of ccinviction

 entered against him on October 25, 1999. following a bench trial, petitionez~ was convicted of

 first degree murder and attennpted axrned xobbery, IIl. Rev. Stat., X995 Ch. 38, pa~•a. 9-1; I11. Rev.

 Staff. 1995, Ch. 38, per, S-4, Subsequently, the trial court sentenced petitioner to death for first

 degree murder and to an extended term of 28 years of imprisonment fo~~ attempted armed

 robbery. On Januazy 10, 2003, petitioner's death sentence was commuted to life imprisonment.

 As grounds far post~con~iction relief, petitioner claims that: (1) his confession was coerced;(2)

 he received ineffective assistance of counsel;(3)the State cam~axtted a.Brady violation.

                                           BACKGR4U:ND

        Petitioner conviction stemmed fi•om the evexzts that took place on August 17, 1992 in

 Chicago, ~llinazs. On that date, petitioner shot Davis Ford while he attempted to rob h~ixn. At

 trial, petitioner's confession to the murder of David Ford ~vvas admitted into evidence..People v.

 Harris, No. 1-OS-0320 (1st Dist. 2005)(unpublished order under Supren:~e Court Rule 23). The

 parties stipulated that the bullets removed from Ford's body wexe a~~ .380 caliber. Id. The State

 pi•Eserited evidence that six live .380 caztridges, three gun k~olste~s, anal an I.D. card belonging to
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  petitioner were i`ecavered by police frorri a baseirierit zoom in petitioner's parents' House in

 which petitioner sometimes slept..Id.

                                         PROCEDURAL HISTORY

        (fin .direct appeal, petitioner claimed that k~zs tirial counsel provided ineffective assistance

 for failing to seek i•econsideraticin of the denial of his pxetria~ motion to suppress statements

 based upon rriental and physical coercion by police. People v. HaNris; No. 1T~5-4320 {lst Dist.

 2005) (unpublished oz'der under Supxezxxe Court Rule 23). ~'etitzoner contended that counsel

 should have sought zeconsideration in. the lxg~t of petitioner's testimony during his Patterson trial

 describing the physical and ri~ental abuse he suffered ~~a~. t~~ police: Id. The :~.ppellate Cou~~t

 af~tz-~z~ed petitioner's conviction and sentence. ,td.

         Petifio~aex• sought lave to appeal to the Illinois Supreme Court. 'On December 1, 2005,

 his petition was denied. People v. F.~arris, 217 Tll. 2d 528(2005).

         On. 1Vlarch 12, 2002, petxtzon~r filed apro-se post conviction petitioa~ raising numexoua

 constitutional violations. Tie (Jffice of tk~e State Appellate Defender was appointed to file a~

 arrie~ded petition,

        4n May 14,.2009; ~etitiorier, with the assistance of counsel, ~i1ed the iinatant aanei~ded

 pet~tiozx wk~eze he claims that: {1) his confession was coerced; (2) he received zzieffective

 assistance of counsel; and(3)tk~e State committed a Beady violation.

         C?n Sept~rnber 17, 2009, tk~e court appointed the Special prosecutor in this case. On

 February 16, 2010, the State filed its Motion to Dismiss Amended Petition for posh-Conviction

 Relief. On June 12, 2013, petitioner filed "~'etitione~'s Motion to Adopt, in the Present case, The

 Brady Claim a1~.d pleadings in Sup~aort a:F That Claim fending in Petitioner's Companion Past-

 Conviction Proceedings in 95 CR 2759801." I~ tuzx~, on July 24, 2013, the State filed the "State



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  Supplement to Its Original N[atzon to Disrrxiss Addressing p'etitioner's Beady Claim." On

  Uctohex• 04, 2413, Petitioner filed his Response to State's Motion to Dismiss Amended Petition

  for Posti-Conviction Relief. Oz~ Apri125, 2014, the State filed its Reply in support of the Motion

  to Dismiss. On May 20, 2Q14, the court heard the arguments and took tk~e matter uaader

  advisement.

                                                  ANALYSIS

         Tk~e Illznois ~'ost-Conviction Heax•ing Act, 725 ILCS 5/ 22-1, et seq., provides a remedy

  foi• defendants who have suffered substantial violations of their federal or state constitutional

  z•ights. People v, 1Yodges, 234 I~~. 2d 1, 9 (2 09), The Act sets foi-tl~ tiaree stages of review.

  People v. Domagalcz, 2013 IL 113688 {2013). CJnless tkze petition presents a "gist" of a valid

  constitutional claim,.the trial court may dismiss the petition as &xvotous and patently without

  mez~zt duxxng the first stage'of post-conviction review. .People v. ~'dwards, 197 Ill. 2d 239, 244

  (2001). A petition is frivolous and patently without merit when the petition bas no arguable

  basis in either fact or law. People v. Hodges, 234 X11. 2d 1, 23(2009).

         At the second stage, the trial court zx~ust deternnine whether the petition and any

  accompanying documents make a substatktial showing of a constitutional v~olatian. 725 ILCS

  S/122-a(a)(1){West 20p6). When making this determination., the trial court must assume that the

  allegations in at'~idavits oz other documentation are true. People v. WaYd, 1$7 Ill. 2d 249, 25S

 (1999)(citing .People v. Caballero, 126 Ill. 2d 248, 2S9 (1989}). If a defendant does nat make a

  substantial showing a~ a constitutional violation, the petition is dismissed. Edwards, 1'97 Ill, 2d

  at 246. If a substantial showing fl~ a constitutional violation is made, the petition is advanced to

  tine third stake, where the trial court conducts an evidentiary hearing. 725 rLCS 5/122-6. Factual

  disputes raised by the pleadzn.gs that require determination ofthe troth ar falsity oftihe supporting



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  docuriients cannot be made at a hearing on the motion to diszr~iss at tie second stage, but can

  only be Y~esolved by an evidentiaz-y hearing. People v. Coleman, 183 Ill. 2d 3d6, 381 {199 }.

      At i:he outset, it is universally recognized that apost-conviction proceeding is got a direct

  appeal, but rather is,a collateral attack on a prior judgment. People v. Barrow, 195 I]l. 2d 506,

  519 (2001). Under the Act, a petitioner enjoys no entitlement to an evidentiary hearing. People

  v. Cloutier, 191 Ill. 2d 392, 397 (2400). .A. hearzr~g zs required, k~owever, when the petitioner

  makes a substantial showing, based an the record and supporting affidavits, tk~at a violatzo~ of

  constitutional rights occurred at trial ox sentencing. People v. Joh~san, 191 Tll. 2d 257, 268

 (2000).

      I.       Coerced Confession

           ~'etitior~er c~axms t~.at his statezxaent wk~exe ~e confessed tk~at he had shot ]7avis Faxd while

  ~ttem~ting to rob hirii ;uvas coerced b~ police brutality. In support of his clai~nn petitioner kzas

  attached numerous documents and has referenced his previous testimony in in People v. Harris,

  No. 27598, where he testified about the aUuse he suffered on August 29, and ,A.ugust 30, 1995,

  while incarce~•ated at ,t~rca 2, The Illinois Suprcm~ Court has held that a defendant has presented

  suf~zcient evidence at the pleading stage to entitle him ~o a post conviction., evidentiary ~eaxing

 for a toi~tuz~e claim. vvhezi: (~) the of~zcexs allegedly involved aa'e identified in other allegations of

  to~-tuare; (2) he has consistently claimed he was tortured;(3} his claxzras are "strikingly sirriiIar" to

 .other claims of tortu~•e; and (4) the defendant's allegations are consistent with 4~'S Endings of

  systemic and methodical tortuxe at Azea 2 under Tox~ Burge..People v. Wrice, 2012 IL ~ 11860, ~

  43'citing People v. Patterson, 192 I11. 2d 93, 145 (2000).

           In the instant case, petitioner has made a substantial showing that his constitutional rights

 :were violated. Accordingly, petitioner's clairr~ that his confession was coe~•ced is advanced to a

  thi~•d stage evidential•y hearing.
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        II.      Ineffectf~e Assistance of Cotirisel

              Petitioner claims that his trial coui3sel was ineffective far failing to: (1) suppa~t the

     pretrial motion to suppress statements; (2) impeach Detective McDermott's testimony; and (3)

     investigate and introduce evidence at trial of Detective's Me~}erxz~.ott's use of coex•cion to attack

     the reliability ofthe statements made by petitioner.

              In examining petitioner's claims of ineffective assistance of counsel, this coui~ follows

     ~k~e two-pxonged test of StYickland v. Washington, 466 U.S. 668,' 687 (1984). Under tlaxs

     standard, petitioner must show that counsel's representation fell below an objective standard of

     reasonableness, and that Uut for this deficiency, there is a reasonable pxobability that counsel's

     performance was prejudicial to the defense. People v. Hickey, 204 Ill. 2d 585, b13 (2001).

     "Pz-ejudice exists when `there is a xeasonable probability that, but for counsel's un~rpfessional

     eriors, the result of the proceeding would have been different."' People v. Erickson., 183 Ill. 2d

     213, 224 (1998)(citations omitted). At the first stage, a petition alleging ineffective assistance

     rr~ay n.ot be summa~•iIy disxi~iss~d if {i) it is arguably that counsel's performance Fell below an

     objective stan.daxd of reaso~.ableziess and (ii) it zs axguable tk~~t the, defendant rues prejudiced.

     People v. Tate, 2012 IL 112214, quoting People v. Hodges, 234 Tll. 2d 1, 17 {2009}. A

     petitioner's failure to make tie requisite showing of either deficient perfoz~mance or sufficient

     prejudice defeats a claim of ineffectiveness. People v. Morgan, 187 Ill. 2d 500, 529-30 {1999).

.~            Significantly, effective assistance of counsel in a constitutional sense means competent,

     not perfect, ~•epresentiation. People v. Easley, 192 Ill. 2d 307, 3~~ (2000). Notably, courts

     indulge in the strong presumption that counsel's perform~~nce fell within a wide range of

     reasonable professional assistance, Strickland, 466 ~C.7.S. at 690 (2001). Moreover, "tk~e fact that

     another attorzley might have puzsued a d~f~erent strategy is ~.at a Factor in the competency



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 determinafion." People v. Palmer, ]62 Ill. 2d 465, 476(1994)(citing People v. h'rllenbYand, 121

 Ill. 2d 537, 548 (1988)).

            Fu~~ther, counsel's strategic decisigns will not be second-guessed. Indeed, to ruminate

 over tl~e wisdom of counsel's advice is precisely the kind of retrospection proscribed by

 Strickland and its progeny, See Strickland, ~d6 U.S. at 689 {"[a] fair assessment of attox~tey

 performance requires that every effort he made to eliminate the distorting effects of hiridsigk~t");

 see also People v. Fu(.leN, 20S I11. 2d 308, 331 (2x02){issues of trial strategy must be viewed; not

 in hindsight, but from the time ofcounsel's conduct, and with great deference accoxded counsel's

 decisions).

            Here, petitioner has made a substantial showing that his constitutiflnal xights were

 violated, and, acco~-da~.gZy, petitioner's claim is advaaaced to a gird stage evidentiary hearing.

    .III.      Brady Violation

    ~etztzoner claims that the State sup~xessed evidence that Detective McDermott had

 previously tortured other Area Two suspects. Due process prohibits the suppression by the State

 ofinformation or materials favorable to the petitioner azad material ~o guilt or punishment, .8rady

 v. Maryland, 373 U.S. 83, 87 {1963}; United States v. Bagley, 473 U.S. 667, 6$2 (1985).

 "Moxeaver, the disclosure obligation applies to ir~apeacl~znent evidence as well." People v.

 Pecoraro, 175 Ill. Zd 294, 305 (199'7). The standard for materiality under Brady rs whether thez~e

 is a reasonable probat~ility that disclosure of the evidence to the defense would have altered the

 outcorrxe afthe proceeding. People v. Sanchez, 169 Ill. 2d x#72, X86 (1996}; Bagley, 473 U.S. at

 682. A "reasonable probability" is a probability sufficient to undermine confidence in the

 outcome. Bagley, 473 U.S. at 682.
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         In order to succeed on a claimed Brady violation, tie petitioner bears the buxden to show

 that:(I) the evzde~nce is favorable t~ the petitioner because it is eit~e~• exculpatory or impeaching;

 {2) tk~e evidence was either willfully or inadvertently withheld ~roxn. the petitioner by the State;

 and (3) withholding the'evidence resulted in prejudice to the petitioner. People v. ,Rapp., 343 Ill.

 App. 3d 414, 417(3d. Dast. 2003).

         In People v. Mitchell, 2012 IL A.pp (lst) 100907, the court addressed the issue whether

 the State committed a Brady violation when it failed to disclose evidence of the pattern oftoartuxe

 aid perjury committed l~~ Detective McDermott at Area 2. Relying o~..People v. Orange, 195 Ill.

 2d 437 (20Q1) and People v. Mahaffey, 194 Ill. 2d 154 (2000), overruled on other gYounds in

 People v. T~T'rice, 2012 TL 111860, the couz-t dxsxn~issed the Brady claim. People v. ,ll~itchell, 2012

 IL App (lst} 200907 citing People v. Orange, 195 Ill. 2d at 4S6 ("any apparent nexus between

 alleged incidents of abuse of other suspects by Area 2 officers and defendant's claims .did not

 arise until several yeaz-s after• defendant's suppression motion, and it was only at that liter time

 that investigations were initialed into intez-xoga~ion ~xactices at Area 2. Tk~ez~fore, defendant

 cannot properly claian that. the State violated the Brady ~•ule by failing to disclose information

 that was unavailable"). Accordingly, petitioner has failed to make 'a substant~a~ showing of a

  constitutional violatic~z~ o~his Fights and his claim fails.




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                                                         ~oNc~,uszoN
           For alI the foregoing reasons, the caurt advances petitioner's claim of coerced co~.fession.

   and ineffectzve assistance of couns~I to a third stage evidentiary hearing. The court finds that

   petitioner has Failed to make a substantial s~owi~.g of a co~.stitutianal violation with regards to

   the rest of his clairris and they are hereby disznissed. The court therefore, grants respondent's

   inoti~n ~o dismiss in part and the petition for posh-conviction relief is hereby granted in part anti

   dismissed in part.




                                                   ENTERED:                                               ~
                                                                                   loon. Den~zs J. ~'o r
                                                                                   Czrcuit Court of ok County
                                                                                   Crzc~inal Division


   DATED:




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                   IN THE CII2,CU~T COORT OF COOK COUNTY,TI.,~~10~5
                       COUNTY DEPARTMENT,CRIlVIINAI.,DIVISION
                                                                                               ~~~L~
                                                                                                      s'i''vrter #15]2

  PEOPLE Ok' ~'~E ST.A.TE O~ ILLINOIS,                                                          J.UI. 2 3 2014
          P~ai~tzff-Respondent;
                                                                                                              CURT
                                                                  Post-Conviction         o~~°~.              FL
                  v.                                              9SCR2'75980~ .

  RALPH HARRIS,                                                   Hon. Dennis J. F'ortex,
                                                                  judge Presiding.
          J.~ef~n~daxat-Petxtxoner.


                                                 ORDER

          petitioner; Ralph Harris, seeks post-conviction. relief fraxn tk~e judgment of conviction

  entered against him on March 24, 1999. Following a jury trial, petitioner ryas convicted of first

  degree ~i~iurder, attempt first degree murder, and attempt armed robber. Ill. ~.ev. Stat., 19 5 Ch.

  38, paz~~.. 9-I; Ill, Ret~. Stat., '1995 Ch. 38, para.l2-a.2=A; I11. R.~v. ~ta,Y. 135,Ch. 38, par. &4{38-

   ~ S-2). Subsequently, the trial court se~tez~ced petitioner to death for first degree murder, 60

  ~eaxs of a~aprisonznent fog attezxz~t ~xst deg~~ee murder and a consecutive term of 15 ye~rrs for

  attempt robbery. On January 10, 2003, petitioner's death sentence- was cozx~nnuted to life

  imprisonment,

          As grounds fox' post-conviction relief, petitioner claims that: {X} his tr~a1 couxisel was

  ineffective; (2) his ap~eTlate counsel was ineffective; {3) his right to a fain trial was violated

  because his co~victzo~. was based on exaggerating, misleading and unproven testimony of

  firearm identification witnesses; (4) his confession was coezced; (S} he rece~~ed .ineffective

  asszsta~.ce o#'counsel foz~ ~ai~~z~g to investigate az~d introduce evidence of betective Mc~ern~ott's

  history of coez-cin~ suspects;(6) tk~e State committed a Brady violation by Failing to provide the
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  defense with information about the physical coercxoza o ~ petxtianer and evidence of a pattern and

  pxactice.of police brutality at Area 2.

                                            BACI~+GROUND

          The Appellate Cauxt has thoroughly set out the facts of this case. People v. Harris, No.

  1-Q5-0323 (1st Dist. 2005) (unpublished order under Supreme Court Rule 23}. The pertinent

  facts to this petition a~-e as follows. Petitioners con~victian stemmed from ~~e events that took

  place an August 17, 1992 in Chicago, Illinois. On that date, petitioner shot and ka~led William

  Patterson while he attempted to rob hinn. Petitioner shot James Patterson, William's brother, but

  he sux•vived.    At trial, 3ames Paterson testified that initially heard two gunshots fired from

  outside the front of his house. He then saw petitione~~ standing ov~e1~ his brother as he lay vn the

  grass. Petitioner fixed another shot at Jams which grazed the left side of'the abdomen. James

  liaci previously positively identifies petitioner in a line-up.

          A~~ather eyewitness, B~•enda Smith, testified that sloe saw petitioner with a gun in his hand

  approaching William. As she ran downstai~•s, she heard a gunshot. She ran to .the front o€her

  house where she saw William on the ground. She saw petitioner• approximately 4 to 5 feet array

  as bye ran past her. She had previously identified petitioner in a line-up.

          Detective Hanai~ton testified that on August 30, 1995, he spoke with petitioner and

  informed k~zzx~ that two witnesses load identified hizn as the o£~'e~:der who shot William ~'atterson,

  Aetective Hamilton also told patitianEr that the weapon used in the ~'atterson shootings had been

  used in three other hoxxzicid~s in the Chatham neighborhood in the summer of 1992. Waxen

  Detective Hamilton later questioned petitioxzex regarding tk~e ~'attez~son shootings, petitioner

  stated: "I'zn. not saying I didn't do this one, Ijust don't z•ernember that one."




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         Det~cti~ve I-Iami~toz~ wxote out petztior~er's statement regard{ng several other rnizrtlers that

  occurred o~ duly 22, ~ 992, August 2, 1992, and August 17, 1992. Petitioner read #hx~ough and

  signed each. one. S~~ecifically, petztionex ad~ztt~d his az~volvement in the armed robberies and

  tk~e murders of Thorraas .Hodges, Jixnxz~.~ ~ramlett, and ~}avis Ford, and stated that he wanted to

  be known as the "Chatham killer." Assistant States A.ttorziey Leslie Quad corroborated

  Detective's Hamilton testimony regarding petitioner's st~ternents.

         Richard Fouznier, ail expert in fueaxm identification, testified ghat the bullets recovered

  frain the bodies off' Bramlett, Hodges, Fard and Paterson, were to a reasonable deg~•ee of

  scientific cel~ainty, fired from the same guz~ to tie exclusion of othex guns, FF3Z Special Agent

  Geiald Wilkes testified that fow• of the live .38~ caliber bullets ~recvvexed from. the basement of

  petitioner's parents' home at 8554 S. Muskegon, and two fired shell caszngs recovered at the

  scene of the Pattexsan shootings had identical head stamps and were manufactured by

  Winchester. During cross-e~a~ination, Fournier acknowledged that Winck~ester manufactured

  millions of bullets each year.

     Petitioner testified that he was arrested on August 29, 1995. Petitioner stated tkzat after he

  was handcuffed, Detective McDe~-znott rolled him over., put a gun on his face and stated,"Didn't

  we tell you that we are going ~o kill you or lock you up forever?" Pet~~ione~~ testified he was

  paced in an interview rooir~ by detectives Hamilton and Bagdon. He was tk~en handcuffed to a

  loop attac3Zed to a wail in ~~oom with no windows, Petitioner testified that on sevexal occasions,

  Detectives Mcbermott aid Boylan e~tezed the interview roam and proceeded to physically and

  verbally assault him. Petitioner stated tk~at petective McDermott grabbed hzm in the throat az~d
                     _...
  pushed him up against the gall, and punched him i~. t~.e stozx~.ach while tlu~eateni~g to send liim

  to pxzso~~ forevex. Detective Har~ailstoxz then entered the room ar~d questioned him regarding some



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   murders. Fetiti~nei• stated that he did not want to talk, and vvis~aed to speak with. a lawyer.

   Detective Ilamilton Ieft and Detectives McDermott and Boylan returned. They struck aa~d

   cY~oc~Ced petitioner and oxdered that he cooperate because they knew he had information

   regarding the rnu~•ders. Before leaving they tlireaten~d to "get" pet~t~oz~ex and, also, to lock n~

   petitioner's girl~xxez~~i.

       After the detectives deft, ASA Quacie entered the room with another defective. Petitioner

   informed .ASA. Quade that he wanted an attorney and she immediately stopped the interview.

   Fifteen minutes tate~~, detective Hamilton entered the room and told him that Detectives

   McDermott and Boylan "really wanted him," and that Detective Hamilton could not help him

  _unless he cooperated.         When l7etectxve Hamilton questioned petitioner regarding the other

   miudexs, petitioner refused to answex and the detective left the room.

       ~'eti~ioner testified that Detectives McI}ermott and Boylan entered the room a third tizx~e and

   l~~et:ective McDermott tvcristed petitioner's arm causing agonizing pain, He then choked petitioner

   ~,nd puzached hisn iri the ribs, telling ]azm that he was going to do what the poiic~ wanted him to

   do, Aftex tk~ey ~e~t, Detective Hamilton retuxned with several pieces of blank paper, He told

   petitioner that they wexe gong to dock up his gi~•lfriend if he did nbt cao~erate, ' 17etective

   Hatr~i~ton then .questioned petitioner regarding the other murders, but left the room after

   petitioner xefused to talk.

       Petitioner testified mat Detectives McDermott and Baylan returned a fourth time, and

   Detectives McDermott pulled out a gun az►d stated that it could "take you~~ head clean off in this

. ~ room." He pointed the gux~ xz~ petitza7~er's face and asked Detective Boylan, "~7o you think that

   we can kzll hinn?" petectives McDermott pulled a pocket knife out his pocket and said, "Vt1~et1,

   vve can say he had a knife on him aaad then I could shoot him." Detectives McDe~~mott grabbed


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   petitioner by the tYu•oat, put the gun to the side off' his head and stated, "I am going to kill you."

   He stuck the gun in petitioner's mouth. Petitioner was fxightened. He never inforz~ed ASA

   Quade of these threats because there was always a detective present when she entered the room.

   petitioner stated that he signed two pieces ofblank papers.

      Before the State's cross-examination of petitioner, tie court allowed the prosecutor ~o refer to

   victims, dates and places of'var~ous 1995 offenses for which petitioner was'under investigation at

  the time of his arrest without revealing the nature ofthose offenses.

      In rebuttal, petitioner's fiancee, Angela Clark, testified that at the time of petitioner's arrest,

  she did z~ot hear the police threaten petitianex•. When s}ae spoke with petitioner tbz-ee days after

  his arrest, he never mentioned any ~x~.istreatment at the hands of police officexs.

      Detective Boylan testified tkaat neither he nor Detective IvlcDermott ck~oked, pu~a.ck~ed,

  grabbed or hit petitioner oz• threaten him with a k~andgun. H~ denied having a vendetta against

  pet~t~oner as a xesuZt of the Rudy Wilson case. Detective McDezmott testified that ~e assisted in

  arresting petitioner. Detective McDermott stated that at the time o~petxtio~aer's arrest he scuffled

  wzfk~ petitioner axed ~ii~ted out his gun but he denied tl3reatening to kill petitioner. When he first

  spoke with petitioner at the station, he questxo~zed hiin regarding 1992 incident involving J~atries

  Brown. Detective McDermott new spoke with petitioner on august 30, 1995, to veri~'y an

  address and he did not have any further conve~•sations rvi~h pet~tiox~er. Detective McDermott

  testified that he did not threaten petitioner ~c~vith a gu~a oar pull out a pocket knife. He testified that

  k~e did ~.ot stxc~C a guy in petitioner's mouth, ar otherwise hit, slab, ~~ck ar punch him. He a3so

  testified that petitioner was not handcuffed while in the room because he was cooperative with

  palace.




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                                          PROCEDURAL HISTORY

           On direct appeal, petitzonei• cla~~ed that: {1}the trial court erred ix~ admitting evidence of

  petitioner's other crazes, and {2) the prosecutor's remarks during closing argument deprived k~i~n

  of a :t'air txial by shifting the buz-den o~ proof to the de~ez~se. People v..F~arris, No..l-OS-0323

  {~st Dist. 2005} (uiapublished arcler under Supreme Court R~.le 23}. .The Appellate Court

  affirmed petitioner's conviction and sentence. Id.

           Petitioner sought leave to appeal to the Illinois Supreme Court. On December'1, 2405,

  his petition was denied. People v..Ha~ris, 217 Ill. 2d 528 (2005),

           On March 12, 2002, petitioner filed apro-se posh conviction peti#ion raising numerous

. constitutional violations. The Office of the State Appellate Defender was appointed to file at►

  ariiended petition.

           On Decexrzbe~ 9, 2011, petitioner, with the assistance o#' counsel, filed the instan#

  amended petition where he claims that: {1} his erial counsel ~c~vas ineffective; (2) his appellate

  counsel was ineffective;(3} his right to a feu trial was violated because his conviction was based

  on exaggerating, misleading and uripraven testjmony of ~rearin identi~catian v~itnesses;{4) his

  confession vvas coerced; (4) he received ineffective assistance of counset far failing to

 investigate and introduce evidence off' Detective N.~cl3exzx~.ott's history of coercing; suspects; (S)

  the State committed a Brady vao~atioz~ by failx~g to provzde the defense with informatia~ about

  the physical coercion of petitioner and evidence of a ~rattern and practice of police brutality at

  Area 2; (6) the cumulative impact of couiasel's erroz•s deprived petitioner of his right to a fair

  trial.

           On Septembez• 17, 200 ,the court appointed the Special Prosecutor in this case. On July

  26, 2012, the State filed its 1Vlotion to Dismiss Amended Petition for post-Conviction Relief. O~



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  Qctober 16, 2013, Petitioner filed his response to State's Motion to llismiss Amended Petition

  for Post-Conviction belief. On .March 25, 2014, the State filed its Reply in support of tlae

  Motion to Dis~riiss. On May 20, 2014, the court heard the arguments and took the mater under

  acivisezx~ent.

                                               ANALYSES

          The Illinois Past-Co11viction Hearing Act, 725 ILGS 5/~ 22-1; et seq., provides a remedy

  for defendants who have suffered substantial violations of their federal or stake constitutional

  rights. People v. Hodges, 234 Ill. 2d. 1, 9 (2009). The Act sets far~h three stages of review.

  People v. Domagalc~, 2013 IL 113b$8 (2013). Unless the petition presents a "gist" of a valid

  constitutional claim, the taial court may dismiss the petztio~. as ~rivo~ous and patently without

  merit during the first stage of post-conviction review. People v. Edwards, 197 Ill. 2d 239, 244

  {2001), A petition is frivolous and patently without merit when the petition has no arguable

  basis in either fact oz' ~avv. People v.lYodges, 234 ~Il. 2d 1, 23(2009).

          At the second stage, the trial court must deternaiz~e whether the petition and any

  accornp~nying documents make a substantial showing of a constitutional vi.oiation: 72S ~LCS

  S/~ 22-1(a}{1){West 2046}. When making this determination, the trim count must assume that the

  allegations in affidavits ox• other documentation are ~~ue, People v. Ward, 1$7 I11. 2d 249, 255

  (1999){citing People v. Caballero, 126 I11. 2d 248, 2S9(1989)). If a defendant does nit make a

  substantial showing of a constitutional violation, the petition is dzsrxzissed. Edwards, l97 T11. 2d

  at 246. If a substantial slowing ova caz~stitut~ana~ vzo~at~on is made, the petition is advanced to

  tl~e thi~~d stage, wkzere the tzial court conducts a~ evi.dez~tiary hea3rir~g, 72S ILCS 5/122-6. Factual

  disputes raised by the pleadings that require determination ofthe txutk~ o~ falsity ofthe supporting
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   documents cannot be made at a fearing on tk~e r~otzo:~ to dssmiss at the second stage, but can

   only be resalved by an evidentiary heaxing. People v. Coleman, 183 ill. 2d 366, 3$1 (1998).

      At the outset, it is universall~r recagnized that ghost-conviction proceedi~.g is not a direct

   appeal, but rather is a collateral attack on a prior judgment. People v. Barrow, 195 Ill. 2d 506,

   519 {2001). Under the Act, a petitioner enjoys no entitlement to an evidentiary he~'ing. People

   v: Cloutier, 191 Ill. 2d 392, 397 (2004). A hearing is requixed, however', when thy. petitioner

   makes ~. substantial showing, based on the recozd ar~:d su~po~txr~g a~~xdav~its, that a violation of

   constieutional rights occun•ed at trial ar sentencing. People v. Johnson, 191 X11. 2d 257, 268

  (2000)'.

          I.      Tneffecti~ve Assistance of Trial Counsel

          Fetitio~er claims that his trzal counsel was ir~e~~'ect~ve fox ~'azli~g to: {1) to seek a Frye

  hea~ri~ag on t~.e admiissibility of firearm idezatification. evidence linking the ~rearnn used in the

  Patterson crime to other murders        (2) file a motion in limine to bar or limit the ~"xrearxn

  identification testimony; (3) object to the firearms lack of foundation for the firearms

• ~ identification testimony; (4) cross-examine the State's everts and present expert testimony to

  rebut the State's fireaxm identification testimony;(5) to present exculpatory testimony,

          Tn examining ~etitianer's claims of ineffective assistance o~ counsel, this co~ii~ti follows

  tie two-pronged test of Strickland v. T~ashington, 466 U.S. 668, 687 (1984}. [index this

  standard, petitioner tnr~st show that counsel's rep~•esentatian fell below an objective standaxd of

  ~'easonableness, and that but for phis deficiency, there is a reasonable ~rababx~ity that counsel's

  pez~formance was prejudicial to file defense. People v. Hickey, 204 Ill. 2d 585, 613 (2001).

  "Pzejudice exists whin `there is a reasonable pz•obability that, but for counsel's unprofessional

  errors, the result of the proceeding would have been different."' People v. Erickson, 183 Ill. 2d



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  213, 224(1998} (citations omitted), At the ~rrst stage, a petition alleging ineffective assistance

  may not be summaa•ily dismissed if (i} it is arguable that counsel's perfo~•mance fell below an

  objective standard of xeasonableness and (ii) it is arguable that the defendant was prejudiced.

  People v. Tate, 203.2 TL 112214, quoting People v. Hodges, 234 Ill, 2d 1, 17 (2009}. A

  petitioner's failure to ~x~a~e the requisite showing of either deficient performance or suf#"icient

  prejudice de~'eats a ~laizn of ineffectiveness. People v. ll~organ, ~ 87 ZIt. 2d 500, 523-30(1999).

          Significantly, effective assistance of counsel in a constitutional sense meaxzs corxapetent,

  not perfect, representation. People v. Easley, 192 Ill. 2d 307, 344 (2000}. Notably, courts

 .indulge in. tk~e strong presumption that counsel's pez~fonxzance Fell within a wrde range of

  reasonable professional assistance. Strickland, 466 U.S. at 690 {2001). Moreover,"the Fact that

  angt~ler   attorney might have pursued a different strategy is not a factor in the connpetency

  deternunation." People v. Palmer, 162 III. 2d 465, 476(1994)(citing People v. ~~llenbrar~d, 12~

  Ill. 2d 537, 548 (1988)}.

         ~urt~e:r, cou~isel's stX~ategzc deciszo~s wild got be second-guessed. Indeed, to z~u~ninat~

  over tk~e wisdom of .counsel's advice is precisely the ~Cind o:F xetxaspectian pY•oscribed by

  ,Strickland and its progeny. See Strickland, 466 U.S. at 689 ("[a] fair assessment of attoix~ey

  pez•~oxxnance requires that every effort be made to eli~zz~ate the distorting effects of hindsight"};

  see also People v. Fuller, 24S Ill. 2d 308, 331 (2002}{issues of trial strategy must be viewed, not

  xn laiz~dsi~ht, but from the time of counsel's conduct, and with. great defe~-~nce accorded counsel's

  a~~~~xn~s~.
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          A: Failure to Request a Trye hearing

          ~'etitioner contends that leis trial counsel was ineffective far failing ~o request a Frye

  Bearing on the admissibility of firearm identification evidence li~.king the firearm used i~ the

  Patterson crime to ot~.er rnurd~rs that were the subject of petitioner's incrinninatoiy statements.

  In support of his claim petztzoz~er has attached Exhibits 16, 18,25 that include several

  publications and cases as vaell as the Report a~~~rearzza Identification Emmert John R. Nixon.

          Initially, the count notes that tie documents petitioner has attached are dated long after

  petitioner's t;•ia~ in 1999, Counsel's campetenc~ is detei~rnined ~z'o~ Lhe totality of counsel's

  conduct at trial. People v. Eddmonds, 101 X11. 2d 4~F, 69 (1984). Accoz~dingly, petitioner's

  exhibits were not available to ~etitiont;r's counsel at the time of his trial and it is undisputed that

  no l~~ye heaz•ing has :been conducted zn Illi~.oxs co~.c~rning the admissibility of firearm

  idex~ti~cation evidence.

          In additioza, under the general acceptance test of FYye, scientific evidence is ad~zssible if

  the methodolo~ry underlying the opinion. is sufficiently established to have gained general

  accep#ance in the particular field in whick~ it be~o~gs, .Frye v. United States, 293 F. 1013, 1014.

  {D.C. Cir. 1923). A.. court may determine the general accep~aarxce of a scientific przn.ciple ox

  methodology in either of two ways: (1) based on the results of a Frye ~aearing; or (2) by taking

  judicial notzce of unequivocal and undisputed prior judicial decisions oz- technical w~~itings oz~ the

  subject. People v. il~lcl'Cowrl, 226 Z~1. 2d 2~tS at 25A~. Creneral acceptance is met w~aere the

  unde~~lying method ~~sed to generate the opinion zs reasonably relied upon by the experts in the

  relevant field. People v. Simrrtons, 213 Ill. 2d ,~23, 530 (2004). The Frye standaz•d is limited to

  scientific methodology that is consxdexed "new" and "novel." People u. McKa~wn, 226 Ill. 2d

  245, 257(2007).



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             In the instant case, counsel's decision not to request a Frye heaaring was justified. T~.e

     methodology used by the State's everts to ~xoduce tk~e opinions regaxdxng the fireaxms evidence

     is reasonably relied upon by experts in the firearms identification field. The record indicates that

     the State's expez•ts, Richa~~d ~ou~~nier and Geralc€ Wilkes; exaxrained th.e bullets a trough a

     co~axzson ~zcxoscope to coxr~pare striation patterns. This nnethod is a generally accepted

     method fox genexatii~g az~ opinion. See People v. O'1lreal, 11$ Ill. App, 2d 116, 122 (1st Dzst.

      X969). A properly qualified ballistics e~e~t z~ay o~'fe~' his opinion as to whether a bullet was

     fired fi~om a gun in question. People v. Fisher, 340 Ill 2163 (1930). Hez'e, Wilkes opined that

     the bullets recovered in the Paterson, Bramlett, and Fard cases rx~ere ~~•ed from the satrie barrel.

     Fournier opxz~ed that tie bullets recovered in the Patterson, Bramlett, Hodges and Ford cases

     'were fired from tk~e same gun. As such, since the. expert's opinzans regarding the ~xearms

     evidence were rased on a methodology generally accepted b~ the everts in the ~ircarms

     identification field, counsel's decision not to request a Frye l~eaziz~g was riot unreasonable.

             ~n addition, petxtzo~ier cannot establish that counsel's alleged deficient performance

     prejudiced his defense. Even if counsel would knave zequested a I'rye hea~~ing, his zequest would

     have been denied since the metk~odo~ogy used to pa~oduce the opinions regarding the'firearms

     idetiti~cation zs not ziew oz' novel. See Feople v. McKown, 226 Ill. 2d 245, 257 (20Q7).

.~   Therefore, petitioner has utterly failed to shove that his Erial cautisel's ~e~•~ormance arguably fell

     below a~a objective standard o£ a•easonableness and that he was arguably prejudiced by such

     performance.

            B. Failure to File a Motion: in Li~nine

            ~'etitioner claims nest that counsel was ineffective for failing to ~1e a motion ire limine to

     bar the admission of the ballistic evidence. An attamey's decision to ale ax snot to ale a motion is



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  regaxded as a matter of trial strategy, People v. Green, 36 Ill. 2d 349, 351 (1967), which must be

   given gzeat deference. Strickland, 466 U,S. at 688. Counsel's decision not to ale. a emotion in

  linzzne can be characterized as tactical decisions within the judgment of defense counsel. See

  Aeople v. Shlimon, 232 Ill. App. 3d 449, 457 (1st Dist. 1992). When counsel is planning a trial

  strategy, judgments must be made and any errors in judgment do not constitute irief£ective

   assistance o~ counsel. People v. Stetivart, 104 X11. 2d 463(984).

          Here, COUriS~1's decision nat to file a motion in limine to bar the admission ofthe ballistic

   evidence is nothing more than. a decision within the bounds of tz•ial st~~a~e~y and, therefore,

  `petitioner has failed to show that counsel's perfo~~rr~ance was arguably deficient. In addition,

   petitioner cannot establish that he was prejudiced by cowisel's alleged deficient perfoirx~aance.

   Specifically, petitioner cannot show that even if counsel would have filed a motion in limine ,the

• ~ result of his trial would have been different. The evzdence against petitioner consisting in the

  identifications made by James Patterson and Brenda Snnith, as well as the properly admitted

   evidence of t1~e 1992 homicides establishing petitioner's identity as the person w~.o shot William

  ~'a~terson was ovexwhelzxazng. People v. Harris, No. 1-OS-0323 (ls~ Dist. 2005} (unpublished

   order under Supz•eme Couz~ Rule 23), Therefore, petitioner cannot show that counsel's deciszon

  not to file a motion in limine was unreasonable or that it prejudiced his defense.

           C. ~'ai~uxe to Abject to the Lack o~ ~`nundation for the Expez~t Opinions

          Petitioner contends next that his trial counsel was ineffective fox• failing to object to the

   State's failure to pxovi.de su~~cient ~oundatioz~ for the opinion testimony of floe firea~•zr~s everts.

  Petitioner argues that even i~ fireaz•ms identification evidence is generally admissible under Frye

   it may be ez~cluded in a particular case if the p~oponez~t of the evidence fails to lay a proper

  foundation. for its introduction.



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          ~'etitiazier's claim is rneritless because decisions regarding "what matters to object to and

  when to object" are matters of trial strategy, People v. Perry, 2~4 IIl. 2d 312, 34~ (2007). As

  such, zt wzll be le£t uz~distuzbed. See People v. Childress, l9~ Ill. lei X68, 177 {2004) (trial

  counsel's strategic choices are virtually unehallengeable). Indeed, "[t]he evaluation of.counsel's

  conduct, cannot properly extend into areas involving the exercise of professional judgnaez~t,

  clxscx-etzox~ or trial tactics." People v. Franklin, 135 Ill. 2d 78, 118-19(1990)(citations omitted}.

          In addition, petitioner has failed to establish that counsel's alleged deficient performance

  prejudiced his defense. The appellate court held that the evidence iz~ petitioner's case was

  ovez-cvk~elrxaing. People v. HarYis, No. ~-OS-0323 {1st Dist. 2005) (ur►published order under

  Supreme Court Rule 23}. Ewen if counsel would have objected to the fi~'earm identification

  evidence, pe~itzoner ~can7~ot show that that the outcome of his trial would have been different if

  counsel had proceeded as petitioner suggests. Thus, counsel's decision not to object to the

  firearm idez~tz~cation ta~ia~ test~r~ony does z~ot a~aount to ineffective assistance oP co~.tnsel.

          D. Failuxe to Challenge the ~ireaxm~s ~dentificati.an Testi~~no~.y

          Petitioner claims next that his trial counsel failed to propezly contest the : ~Srearms

  identification testimony through eit~ner cross-examination or through a defense expert testimony.

  The decision whether or not to cross-examine or impeach a witness is a matter of trial strategy

  whick~ cannot su~~oxt a claim of ine~'~ective assistance of counsel..People v. Pecoraro, 175 Ill. 2d

 .294, 326 {1997). He~~e, counsel's decision not to cross-examine the e~~ert test~~~xony regarding

  the ballistic evidence was ~i~rzply a mattez• of trim strategy aid was consistent with counsel's

  ~heary assea.-ted at t~~ial. At trial, counsel a~•gued that the firearms xde~ti~cation testimony was

  irrelevant to pz•ove that petitioner nnurdered William Patterson in the context of petitioner's

  testimony that he did not commit th.e murder. Couzssel argued that while the shootings of



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  Patterson., Hcidges, l3ramlett and Foxd were committed with the same type of bullets, this fact

  was irrelevant to petitioner's case since he wasn't the shooter

          Moreover, the record reflects that counsel cross-examined the State's expert witnesses on

  ot~.ex issues z-elevant to kais theory asserted at trial, Specifically, counsel sought testrtnony that

  millions of bullets a~•e produced every year and there are five different ~ireat~zn rrzanufactur~rs that

  produce gun barrels with the exact same class characteristics as the bullets recovered in floe four•

  homicides. Thus, counsel vas not ineffective for faiting to cross-examine the State's firearms

  identz~cation testimony.

          Simila~•Iy, petitioner's claim ghat counsel was ineffective for failing to call a defense

  expert witness is meritless. Whether to call a ~az-~~cu~aa~ witness pis a matter of trial strategy.

 .People v. Flores; 128 Ill. 2d 66, 85 6(1989)(citations omitted). Such a claim cannot form the

  basis fos a claim of xzzeffective assistance of counsel unless the trial strategy zs so unsound that

  counsel caz~ be said to have entirely failed to conduct az~y meaningful adversarial testing of the

  State's prosecution. People v. Jones, 323 Ill. App. 3d 451, 457 {~st Asst. 2001). Hez-~; counsel's

  election not to ca11 en expert to contest the state's use of firearms ide~tzf~cation evidence was

  again a matter of trial strategy. Considering counsel's theory at trial, the couxt refuses to deem

  counsel's strategic decision unsound. Instead, counsel's decision not to call a~ expert was

  justified since counsel was arguing that the ballistic evidence was irrelevant to petitioner's case.

  Therefoz•e, petitioner has failed to establish that counsel's ~erforrnance was arguably deficient.

  ,See Tate, 2Q12 IL 11221A.

          T. Failure to Present Excul~ato~y evidence

          Petitioner claims that his counsel vas ineffective for failing ~o p:resent testirilony from

  three witnesses that did z~ot identify petitioner in a lineup as the person responsible for-the armed



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          robbery of Willie Wzlliams and Gladys Williams. ~'etitioner contends that ~z~ November 1992,

           Willie Williaxn~s, Gladys Williams, and Gladys Harris viewed a lineup and did not identify

           petitioner as the offender. Petitioner claims that these three eyewitnesses descaribed the Chatham

          zobber as an older man with a fuller face than petitioner. Petitioner argues that -since couns~I's

          theozy at txial was x~zsic~enti~cation, and that the eyewitness identification by James Patterson

          arld Bxenda Smith was ~eal~, counsel's failure to zz~tz~oduce thzs evidence vas unjustified.

                  Defense counsel's failure to adequately prepare :For txial or to conduct adequate

          investigations may stz~po~t an ineffectiveness claim. Penple v, l~itherspoon, 55 Ill. 2d 1$, 21

          (1973); People v. Coleman, 267 Ill. App. 3d 895, 900 (1st Dist. 1994). T~:owever, "a paz-ticular

          decision. noL to i~.vestigate z~ltst be directly assessed for reasonableness in all circumstances,

          ~.pplying a heavy rr~easu~~e of deference to counsel's judgxx~.ezats." Strickland v. Washington, 466

          U.S. 668, 691 (1980. Indeed, "to prevail on a claim of ineffective assistance fax failure to

          investigate, petitioner must show that substantial prejudice resulted and that there is a reasonable

          probability the foal i•~sult would have been different had counset ~ra~erly investigated." People

          v. Rush, 294 Ill. App, 3d 334, 342-43 (S~h Dist, 199$},

                  In the instant case, petitioner has failed ~o establish that counsel's alleged Failure to

          present the potential testimony of the three witnesses would have changed tlne result of his trial.

          Whether the failure to investigate constitutes ineffective assistance of counsel is determined by

    .~    tlie~ value of the evidence not presented at tz~ial and the closeness of tla~ evidence that was

          pX~esented at trial. People u. Mont~;ome~y, 327 Ili. A.pp. 3d 184, 185 (1st Dist. 2041). :Here, t~.e

          appellate court held that the evidence of pcti1:ioner's guilt zn this case was overwhelming. People

          v. ,~arris, Na. 1-OS-0323 (1st Dist. 2005) (unpublished order under Supreme Court Rule 23}.

~   ~     Even if coun.se~ would have ~z~ese~ted the testimony of the three witnesses regarding tl~e armed



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  robbery of Willie. Witliams and Gladys Williams, in the instant case, tkze ballistic evidence, the

  eyewitness testinnony of James Patterson and Brenda Smith, as well as the properly admitted

  evidence of the 1992 homicides established petitioner's identity as tk~e pez-son who shit Williarx~

  Patterson. Thus, petitioner has failed to establish that coua~sel was i~e~fective for failing to

  investigate and present this evidence.

          II:     Ineffective Assistance of Appellate Counsel

          Petitzaz~ez• claims that his appellate counsel vvas inet'fective for not raising the zssue of trial

  caun~sel's incompetence. It is axiomatic that a crxnraxxaaX petitioner is g~~axanteed the ef~ectzv~

  assistance of counsel oz~ appeal. .Evitts v. Ducey, 469 U.S. 387, 396T97 {~~SS}. 'However,

  effective assistance in a constitutiional sense r~nean.s competent, nat ~ierf~ct, representation.

  People v: Easley, 192 Ill. 2d 307, 344 (2000), In assessing claims of ineffective assistance of

  appellate counsel, the court follows the two-pronged test o~'Strickland v. Washington, 466 U.S.

  66$,687(1984). Under this standard, the petitioner must show that counsel's representation fell

  below an objective sta~claz'd. of ~•easonable~ess, azad tk~at, because of this d$ficiency, thet•e is a

  rea~~onable probability that counsel's performance r~vas prejudicial to the defense. People v.

  Hickey, 2~4 Ill, 2ci 585, 613(2Q01).

         To succeed on a claim of ineffective assistance of appellate counsel, petitioner must show

  ghat the failure to ~•aise a particular issue was ob}ectively uz~easo~ab~e and that his appeal was

  prejudiced by the omission. People v. Williams, 2U9 X11. 2d 22'x, 243 (2004). "Appellate cauz~sel

  is not obligated to brief every conceivable rssue on appeal, and it is not ineo~pete~ce of counsel

  to refrain fi•am raising issues w~~ch, zx~ }~zs ox k~er judgment, are without merit, unless counsel's

  appraisal of tl~e merits is patently ~•ong." People v. Easley, 192 Ill, 2d 307, 329(2g00). Thus, a




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  petitioner bas not suffered prejudice from a~~ellate counsel's decrsion riot to raise certain issues

  on appeal unless suci~ issues were meritorious. Easley, 192 X11. 2d at 329.

            Where a petii:ioner claims that appellate counsel vvas deficient for failing to raise the issue

 " o~ trial counsel's inef~'ectzvez~ess, the focus necessarily must be on trial counsel's performance.

  People v..Iohnson, 183 Ill. Zd 175, 187 (1998); People v. Coleman, 168 Ill. 2d 509, 522-23

  {1995}.     As discussed above, axial couz~.s~l's failure: (1} to seek a Frye hearing; on the

  admissibility of ~reai•m identification evidence•,(2) to file a xnotio~ in limine to bar or limit the

  ~a•earz~za zdent~~catian testimony; (3} to object to the fi~~eaxms lack of foundation for the firearms

  identification testiz~no~~y; {4) to cz~oss-examine the State's expezts and present expert testimony to

  rebut the State's firearm identificatio~a testzz~ax~y and (S) to present exculpatory evidence does

  not arzzount to ineffectivenessas petitioner has failed to meet eit~ex pro~ag of the ineffectiveness

  test. Petitioner's clai.rri fails onhost-conviction review.

          III.     Unproven Expert Testimony

          Petitioner c~nims that his right to a fair trial was violated because his conviction was

  based on exaggerated, misleading and ~.nproven e~e~t testxmo~y, Petitioner argues that the

  ex~ierts provided unreliable testimony and, as such, petitioner's conviction should be vacated and

  a new trial ordered However, petitioner seems to merely x~litzgate his previous claim. As

  established ~z•eviously, the methodology used by the State's experts to produce their opzz~ions

  regarding the firearms evidence was reasonably zelied upon by experts in the fsrearms

  identification ~~eld. See People v. U'Neal, 11$ Ilt. App. 2d at 121-24. As such, petitioner's

  contention has Sao mez-it and the ~xeaa~zxr identification testimony was properly admitted at

  petitioner's trial.




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          N.      Brad,~~ Vi~I~tion

          Petitioner claims that the State suppressed evidence that Detective N~cUerrz~ott had

   previously tortured othez• Area Two suspects. Due process pz~ohibits the suppressio~a by the State

  ofinformation or materials favorable to tie petitioner and material to guilt or punislaxz~ent. Brady

   v. N.laryland, 373 U.S. 83, 87 .(1 63}; united States v. Bagley, 473 U.S. 667, 682 (1985).

  "1V,Coreo~er, the d~sclasure obligation applies to impeachment evidence as weil." People v.

  Pecordro, 175 Ill. 2ci 294, 305 (1997). Tie standard for rnateriaiity under .Brady is whethex there

  is a reasonable probability tk~at disclosure of the evidence to the defense would knave altered tixe

  outcome of the proceeding. People v. Sanchez, I69 Ill. 2d 472, 486 (1996}; Bagley, 473 U.S. ai

  682. A "reasonable probability" is a probability sufficient ~o undermine confidence in the

  outcome. Bagley, 473 U.S. at 6$2.

          In ordez- to succeed on a claimed .8rady violation, the petitioner beaxs the burden to shaw~

  that;(1)the evidence is favorable to the petitianex because it is either exculpatory or impeaching;

  ~2) the evidence waa eitlzex• willfully or inadvertently ~vvithheld frox~ the petitioner by the State;

  and (3) withha~dzng tk~e evidence resulted in prejudice to the petitio~.er. People v. Rapp, 343 Ill

  App. 3d 4T4, 417(3d. Dist. 2003}.

          Tn People v. Mitchell, 2D12 IL Abp (1st) X00907, the court addressed the issue whether

  the State committed a Brady violation when it failed to disclose evidence ofthe pattern of taz-ture

  and perjury cornixutted by Detective McDermott at Az•ea 2. Relying an People v. Orange, i9S I11.

  2d 437 (2001) and People v. Mahaffey, 194 Ill. 2d 154 {2000}, overruled on other ground's in

  People v. W~ice, 201.2 ~L 1 ~ 1860, the cau~~t dismissed the Brady claim. People v. Mitchell, 2012

  IL A.pp (1st) 100907 citing People v. Orange, 195 Ill. 2d at 456 {"any apparent nexus between

  alleged zz~cidents of abuse of other suspects by Area 2 of~xcers az~.d defendant's clai~nnis did not
Case: 1:08-cr-00846 Document #: 442-1 Filed: 05/05/15 Page 29 of 77 PageID #:8389




  az•ise until sevexa~ yeaas aftez• defendant's suppression motion, and it was only a~ that Tater time

  that investigations were initiated into zntezxogat~an practices at .A.rea 2. T~e~~efore, defendant

  cannot properly claim that the State violated the ~3Yady rule by failing to disclose ir~~'ormation

  that was unavailable"}. Accoz•dingly, petitioner's claim fails.

          Mox•eovez•, in th:e instant case, pet~txonex has failed to establish that there is a reasonable

  probability that disclosu~•e of the evidence to the defense would have altered the outcome of t~.e

  proceeding when the evidence at.trial against petitioner was overwhelming. People v..t~"arYis,

  No. 1=05-0323 (1st Aist. 2005)(unpublished order under Supreme Coux-t.Rule 23).

          V.      Coerced Confession

          Petitioner claims that he has newly discovered evidence that proves that his can~'ession

 .was coerced. The Illinois ,Supreme Court has held that a defendant .has presented sufficient

  evidence at t ae pleading stage to entitle dim to a post conviction, evidentiaz-~ hearing for a torture

  claim when: (1) the officers allegedly involved a~-e xdentx~ied i~ other allegations o£torture;(2)

  he has cansistez~t~y c~azz~aed he ~cvas tortuzed; {3}his cla.irns are "strikingly similar" to otfier ciairns

  of torture; and (4) the defendant's alle~atians are cansistez~t wztk~ OPS findings of systemic and

  methodical torture at Area 2 uxid~r Jon Burge. People v. Wrice, 2012 IL 1 ~ 186fl, ¶ 43 citing

 People v. Patterson, l92 Zll. 2d 93, X45(2000).

          Tn the instant t;ase, petitioner has made a substantial showing that his constitutional rights

  ~vexe violated. Accoz~diz~gly, petitzo~ex's claazx~ that his confession was coe~~ced is advanced to a

 third stage evidentiar~r hearing. Similarly, petitioner's claim tk~at k~xs counsel was ineffective for

 failing to investigate and introduce evidence of Detective McDermott's history t~f coercing

 suspects is advanced to a third stage evidentiary hearing.




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                                                              co~vc~us~orr
                   For all the foregoing reasons, the court advances petitzoner's claim of coerced confession.

       and of ineffective assistance off' counsel for failing to investigate and introduce evidence of

      Detective McDermott's histozy a£ coercing suspects to a tk~ird stage evidentiary heaxing. The

      cciurt finds that petitianex k~as failed to make a substantial showing of a co~stitutzonal violation

      witk~ xe~ards fo the 1•es~ of his claims and they are hereby dismissed. The court therefore, grants

      respondent's motion to dismiss in part and the ~etitian far host-convictioza :relied is hereby

      granted in part and dismissed in part.

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              ~ ay{c ...~....v...,; ~::_-;y,~:~:~~....                   Hon. Dennis J. Po
       ~~pu~=~~,:~,.:`"y„-.``°°`                                         Circuit Court of C ok County
                                                                         Criminal Division.
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             IN THE CIRCUIT COiJR.T OF COOK COUNTY,ILLINOIS

PEOPLE OF THE STATE OF ILLINOIS)
       Respondent,                            ~                )
                vs.                                            ) No. 95 CR 275960(Post-Conviction)
RALPH HARRIS,                                                  ) Hon. Dennis J. Porter,
                                                                 Presiding Judge
       Petitioner.                                             )

                                                         ORDER
       This cause cgming to be heard on Petitioner's motion for leave to obtain
documents and transcripts pursuant to subpoena duces tecum on the Office of the
United States Attorney for the Northern District of Illinois in the matter of United
States v. Burge, No. 08 CR 846; which are relevant to the alleged course of conduct
and the credibility of potential witness Michael McDermott, it is hereby ordered
that the motion is ALLOWED,and Petitioner may cause a subpoena to be issued
seeking the following:
Copies of any statements made by Michael McDermott to federal prosecutors or
investigators in the course of the investigation of Jon Burge in US v Burge, No. OS
CR 846, including but not limited to reports, FBI Form 302s, transcripts of
McDermott's grand jury testimony, and any notes not subject to work product
privilege. A11 such documents will be produced confidentially for attorneys' eyes
only and maintained solely for use in Petitioner Ralph Harris's pending post-
convictionproceedings in the Circuit Couxt of Cook County.


           `w                                                              ~~ ~ ~~~
                                                         Hon. Dennis J. Igo°rter     ~
                                                         Judge, Circui~~ourt of Cook County




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0300                                                                                            (Rev. 8/8/11) CCCR 0066 A

                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

THE PEOPLE OF THE STATE OF ILLINOIS

                        v.                                                   No. 95 CR 27596-01
Ralph Harris




                                    ~II~~SUBPOENA DUCES TECUM

        The People of the State of Illinois to all Peace Officers in the State -GREETING:

        WE COMMAND THAT YOU SUMMON Records Custodian, United States Attorney's Office,
219 S. Dearborn, 5th Floor, Chicago, IL 60604, to produce the documents described below:


to appear to testify before the Honorable Judge Dennis Porter
on March 19                            2015          ~n Room 606                   Circuit Court, Criminal Division
2600 S. California            ~ Chicago                                 , Illinois, at 930         a. m.

YOU ARE COMMANDED ALSO to bring the following:
 Copies of any statements made by Michael McDermott to federal prosecutors or investigators in the course of the
 investigation of Jon Burge in US v Burge, No. 08 CR 846, including but not limited to reports, FBI Form 302s, transcripts of
 McDermott's grand jury testimony, and any notes not subject to work product privilege. All such documents will be produced
 confidentially for attorneys' eyes only and maintained solely for use in Petitioner Ralph Harris's pending post-conviction
 proceedings in the Circuit Court of Cook County,                                                                             p
in your possession or control.

YOUR FAILURE TO APPEAR IN RESPONSE TO THIS SUBPOENA WILL SUBJECT YOU TO PUNISH-
MENT FOR CONTEMPT OF THIS COURT.                        ~
                                                          .,
Atty. No.: 20763                                             Issued by:                  f
                                                                                         ~ ~'
Name: Charles Hoffman                                                                                      Signature
Atty. for: Ralph Harris                                          Attorney
                                                                 Cleric of Court
Address: 203 N. LaSalle, 24th Floor
City/State/Zip: Chicago, IL 60601
Telephone: 312 814-5472                                      Date: January 8                                   2015




NON-APPLICABLE -Strike out Title which does not apply -Subpoena or Subpoena Duces Tecum.



                                                                                                                   .~


          DOROTHY BROVb~N, CLERK OF THE CIRCUIT COURT iJF COOK COUNTY, ILLINOIS
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                                    OFFICE OF THE STATE APPELLATE DEFENDER
                                                     FIRST JUDICIAL DISTRICT
                                                  203 North LaSalle Street 24th Floor
                                                         Chicago, Illinois 60601
                                            Telephone: 312/814.5472        Fax:312/814-1447
                                     www.state.ii.us/defender    E-mail: istDistrict@osad.state.il.us


MICHAEL J,PELLETIER                                          January 23, 2015
STATE APPELLATE DEFENDER

ALAN D. GOLDBERG
DEPUTY DEFENDER
                            AUSA James M. Kuhn
BARBARA C. KAMM             United States Attorney's Office
ASSISTANT DEPUTY DEFENDER
                            219 S. Dearborn, 5th Floor
CHARLES W. HOFFMAN          Chicago, IL 60604-2029
SUPERVISOR

                            Dear Mr. Kuhn:

                            I was referred to you by Attorney Tara Thompson, who informed me
                            that you were the AUSA she dealt with regarding a subpoena duces
                            tecum issued to your office by Cook County Circuit Judge Thomas
                            Hennelly, in the case of People v. Keith Mitchell, 92 CR 19459, a post-
                            conviction proceeding pending in Cook County Circuit Court. As you
                            may recall, that subpoena was for documents relating to former CPD
                            Det. Michael McDermott's involvement as a government witness in
                            United States v. Jon Burge, 08 CR 846, which your office prosecuted.

                            As you may also recall, your office voluntarily complied with that
                            subpoena, with the exception of providing McDermott's grand jury
                            testimony, which was then litigated before Judge Lefkow in the Burge
                            case. Judge Lefkow granted, in part, Ms. Thompson's request for
                            McDermott's grand jury testimony, and issued a protective order
                            limiting its use to the Mitchell case, along with other restrictions.

                            I'm writing to you because I represent Ralph Harris, who is the
                            petitioner in several pending post-conviction matters in Cook County
                            Circuit Court, under case numbers 95 CR 27596, 27598. and 27600.
                            Like Mitchell's case, Harris's cases also involve allegations against
                            Det. McDermott. More specifically, Harris alleges that McDermott
                            and his partner, Det. Boylan, as part of a pattern and practice of
                            physically and emotionally abusing custodial suspects at Area 2
                            Chicago Police Headquarters, coerced purported confessions from
                            Harris, which were introduced into evidence against him at his trials
                            in the above-mentioned state prosecutions.

                            Based on the allegations contained in Harris's post-conviction
                            petitions, the presiding judge in those cases, the Honorable Dennis
                            Porter, has issued a subpoena duces tecum to your office, that is in all
                            respects identical to the subpoena duces tecum issued by Judge
                            Hennelly in the Mitchell case.
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      For your convenience, I have enclosed a copy of our motion requesting
issuance of the subpoena duces tecum in Harris's cases. Appended to that motion is
a copy of the subpoena issued in the Mitchell case, the pleadings filed by Mitchell in
the Burge case, Judge Lefkow's order granting Mitchell's petition to intervene and
releasing a portion of the grand jury materials Mitchell sought; and a copy of Judge
Lefkow's protective order.

      I have also enclosed a copy of Judge Porter's order of January 8, 2015,
granting Harris's request for issuance of a subpoena duces tecum, and a copy of the
subpoena itself, which is returnable on March 19, 2015.

       I would greatly appreciate it if you could review these materials at your
earliest convenience and contact me so that we can discuss how best to proceed in
this matter. If you are not the person in your office to whom these materials should
have been sent, please forward them to the appropriate person.




                          Sinc r


                               RLES W. HOFFMAN
                          Supervising Attorney




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                                                      IJ.S. Department of Justice
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                                                      United States AttoNney
          `"                                          Northern DistNict ofIllinois
                                                      Di~•ksen Federal Courthouse                Phone:312-353-1877
James M, Kuhn Sr.
                                                      219 South Dearborn Street, Fifth Floor       Fax: 312-886-3501
Assistant United States Attorney
                                                      Chicago, Illinois 60604                  janzes.kuhn@usdoj.gov


                                                      January 27, 2015

Charles W.Hoffman
Office ofthe State Appellate Defender
203 North LaSalle Street, 24th Floor
Chicago, Illinois 60601

               Re:       Subpoena to United States Attorney's Office in People of the State ofIllznois v.
                         Ralph Harris, No. 95 CR 27596 (Circuit Court of Cook County)

Dear Mr. Hoffman:

        The above subpoena has been referred to this office for a determination whether any
requested materials can be disclosed or testimony authorized under the federal regulations
applicable to such subpoenas, 28 C.F.R. §§ 16.21, et seq. Federal law prohibits any disclosure
until Department of Justice approval has been obtained: Before'a decision whether to approve
disclosure can be made, you must submit the "relevancy statement" required by 28 C.F.R.
§ 16.22(c), (d). That statement, preferably iri affidavit form, must set forth a summary of the
testimony or information that is sought and explain its relevance to the proceeding in which the
subpoena was issued.

        We hope to be able to provide as complete disclosure as the federal regulations permit.
Please send the relevancy statement to the undersigned and include any information that may be
helpful in processing your request. In the event you are not satisfied with the administrative
decision of the Department of Justice regarding disclosure, sovereign immunity precludes a state
court from compelling compliance with the subpoena. Instead,judicial review ofthe decision is
available exclusively by way of a suit in federal court under the Administrative Procedure Act,
5 U.S.C.§ 701, et seq. See EdwaNds v. U.S Department ofJustice, 43 F.3d 312(7th Cir. 1994).

       Thank you for your cooperation.                   If there are any questions, please contact the
undersigned.

                                                       Very truly yours,

                                                      ZACHARY T. FARDON
                                                      United States Attorney


                                                            JAMES M. KUHN,Sr.
                                                            Assistant United States Attorney
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                                 APPENDIX E
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                                    OFFICE OF THE STATE APPELLATE DEFENDER
                                                     FIRST JUDICIAL DISTRICT
                                                  203 North LaSalle Street • 24th Floor
                                                        Chicago, Illinois 60601
                                            Telephone: 312/814-5472       Fax: 312/814-1447
                                     www.state.il.us/defender    E-mail:lstDistrict@osad.state.ii.us


MICHAEL J. PELLET[ER                                        February 27, 2015
STATE APPELLATE DEFENDER

ALAN D. GOLDBERG
DEPUTY DEFENDER
                            James Kuhn, Sr.
BARBARA C. KAMM
ASSISTANT DEPUTY DEFENDER
                            Assistant United States Attorney
                            Office of the United States Attorney
CHARLES W.HOFFMAN           Northern District of Illinois, Eastern Division
SUPERVISOR                  219 S. Dearborn, Fifth Floor
                            Chicago, IL 60604

                            Re: Relevancy statement in support of subpoena duces tecum issued
                            to the United States Attorney's Office in People v Harris, No. 95 CR
                            27596 (Cir. Ct. of Cook County)

                            Dear Mr. Kuhn:

                            In response to your letter of January 27, 2015, enclosed please find for
                            your consideration, a relevancy statement pursuant to 28 C.F.R.
                            §16.22(c) & (d), in connection with the subpoena duces tecum served
                            on your office in the above-captioned state post-conviction proceeding.

                            As you may recall, about a year ago, an identical subpoena was served
                            on your office by the petitioner in People v Mitchell, No. 92 CR 19459
                            (Cir. Ct. of Cook County), another pending state post-conviction
                            proceeding with similar allegations of a coerced confession involving
                            former Area 2 Detective Michael McDermott, who was a Government
                            witness in the case of United States v. Burge, 08 CR 846(N.D. Ill.) My
                            understanding is that your office complied with that subpoena, with
                            the exception of providing the petitioner with copies of McDermott's
                            federal grand jury testimony. That subpoena was later the subject of
                            litigation by way of the petitioner's motion to intervene in the Burge
                            case.

                                    In Mitchell, Judge Lefkow issued a memorandum opinion and
                            order granting Mitchell's petition to intervene, and further ordered
                            that a portion of McDermott's requested grand jury testimony be
                            provided to Mitchell, for attorney's eyes only, in order to permit your
                            office to seek a protective order. (Memorandum Opinion and Order of
                            January 17, 2014, attached to this letter). A week later, Judge
                            Lefkow issued such a protective order. (Protective Order of January
                            24, 2014, attached to this letter).
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To avoid potential litigation, and in light of Judge Lefkow's order regarding
Mitchell's identical subpoena, please be .advised that we would consider it to be full
compliance with our subpoena if we were given those materials that were voluntary
supplied by your office in response to Mitchell's subpoena, along with that portion of
McDermott's grand jury testimony ordered to be turned over to Mitchell by Judge
Lefkow. We would, of course, also have no objection to a similar protective order
being entered in our case.

If you have any questions, or wish to discuss this matter further, my direct
telephone number is 312 814-6375. Thank you for your attention to this matter.




                          Sinc r


                           HA LES W. HOFFMA
                          Supervising Attorney
                          Counsel for Ralph Harris


Attachments:
Judge Lefkow orders of 1/17/14/ and 1/24/14
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     AFFIDAVIT OF RELEVANCY OF ATTORNEY CHARLES HOFFMAN

       Charles Hoffman,after being duly sworn under penalty ofperjury, and pursuant

 to 28 CFR § 16.22(c) & (d), subscribes and swears to the following:

Background and Procedural History of Ralph Harris's Pending State ~Post-
Conviction Proceedings.

       1.     On August 29, 1995, Ralph Harris was arrested on criminal sexual

 assault and armed robbery charges. Following lengthy custodial interrogations at Area

2 Chicago Police Headquarters over the next two days, police and prosecutors

purportedly elicited from Harris a number of confessions that were later introduced

into evidence over defense objection in various Cook County prosecutions of Harris,

including his prosecution for the murders of David Ford (95 CR 27596) and William

Patterson (95 CR 27598), and for the aggravated criminal sexual assault and armed

robbery of Rhonda Thompson (95 CR 27600).

       2.    Prior to Harris's separate trials in the Ford, Patterson and Thompson

cases, the defense filed an omnibus amended motion to suppress his purported

confessions in all of his pending cases, on the ground that they were the involuntary

product of physical and mental coercion at the hands of Area 2 Detectives Michael

McDermott and James Boylan. That motion, which was denied following a pretrial

evidentiary hearing,specifically alleged, inter alia, that McDermott and Boylan struck

Harris with their fists in his stomach, neck, and head; placed a gun to his head and in

his mouth; and hit hixn with a phonebook. (Amended Motion attached as Appendix A)

       3.    Harris was subsequently convicted ofthe murders of Ford and Patterson

and sentenced to death. His convictions in both cases were upheld on direct appeal,



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although his death sentences were commuted to natural life imprisonment by former

Illinois Governor George Ryan. Harris was also convicted of the aggravated criminal

sexual assault and armed robbery of Rhonda Thompson,and sentenced to a total of120

years' imprisonment. His convictions and sentences in the Thompson case were

affirmed on direct appeal. Harris later filed a state post-conviction petition in the

Thompson case, which ultimately provided no relief.

       4.    Harris currently has state post-conviction proceedings pending in the Ford

and Patterson cases. He also has a pending motion for leave to file a successive post-

conviction petition in the Thompson case. In each of those cases, Harris has alleged,

inter alia, that newly discovered evidence of the pattern and practice of the abuse of

custodial suspects at Area 2 by detectives under the command or formerly under the

command of Jon Burge —such as Det. Michael McDermott —entitles him under

constitutional principles of due process of law to new trials; or, in the alternative, to

a new hearing on his omnibus motion to suppress his purported confessions.

       5.    On July 23,2014, Cook County Circuit Court Judge Dennis Porter entered

orders in the Ford and Patterson cases denying,in part, the State's motions to dismiss,

and granting evidentiary hearings on Harris's coerced confession claims. (Orders

attached as Appendices B and C) On January 8, 2015, Judge Porter entered an order

granting Harris leave to serve a subpoena duces tecum on the United States Attorney's

Office for the Northern District of Illinois, seeking the following documents:


             Copies of any statements made by Michael McDermott to federal
             prosecutors or investigators in the course of the investigation of
             Jon Burge in US v Burge, No.08 CR 846,including but not limited
             to reports, FBI Form 302s, transcripts of McDermott's grand jury

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             testimony, and any notes not subject to work product privilege. All
             such documents will be produced confidentially for attorneys' eyes
             only and maintained solely for use in Petitioner Ralph Harris's
             pending post-conviction proceedings in the Circuit Court of Cook
             County.

(Order attached as Appendix D)

 The Subpoenaed Documents Are Relevant to Harris's Pending State Post-
 Conviction Proceedings to Corroborate His Allegations ofAbuse at the Hands
 of Det. McDermott and to Provide Potential Impeachment of McDermott.

       6.    In support of his post-conviction allegations of newly discovered evidence

 against Det. McDermott, Harris relied, in part, on the 2006 Report of Cook County

 Special State's Attorney Edward Egan ("Report"), which concluded that McDermott's

conduct toward another custodial suspect at Area 2 — Alphonso Pinex —and

 McDermott's lying about that conduct under oath at Pinex's motion to suppress

hearing, were criminal acts (aggravated battery, perjury and obstruction of justice),

and that but for the expiration of the statute of limitations, McDermott should have

been prosecuted for those crimes.(Report at 290)(The Report can be found online at

http:/Ichicagojustice.org/foi/relevant-documents-of-interest/report-of-the-special-stat

es-attorney-critique-of-that-report)

       7.    Harris also relied on the transcript of McDermott's immunized testimony

at the federal criminal trial of former Area 2 Commander Jon Burge, in which

McDermott admitted to threatening suspects and perjuring himself during

investigations into his misconduct. More specifically, in that testimony McDermott

admitted that he had not been truthful in his sworn testimony at the hearing on

Pinex's motion to suppress his confession, by failing to mention that he had struck

Pinex in the chest and knocked him down into a chair in an interrogation room at Area


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2, before beginning his interrogation. When asked by Burge's defense counsel why he

hadn't been truthful, McDermott responded, "Because [Pinex] was a murderer and I

didn't want him to get off." United States u. Burge, 08 CR 846 (N.D. Ill) (Report of

Proceedings of June 14, 2010, at 103-12)

       8.    Based on in#'ormation and belief, McDermott testified twice before the

grand jury that indicted Jon Burge for perjury and obstruction ofjustice. United States

u. Burge,08 CR 846(N.D. Ill)(Report ofProceedings of June 14, 2010, at page 37)("Q.

And you have testified before the grand jury twice, is that right? A. Yes."). It appears

that in his grand jury testimony, McDermott made admissions regarding his

misconduct that he apparently sought to retract during his testimony at Burge's trial.

 United States v. Burge, 08 CR 846 (N.D. Ill)(Report of Proceedings of June 14, 2010,

at pages 18-21, 24, 30-33, 111-112, 118, 134-137, 149-151)

       9.     Based on the publicly available material regarding McDermott's

involvement in the Burge prosecution, undersigned counsel for Harris in good faith

believes that in his testimony before the federal grand jury and in statements he made

to federal investigators, McDermott may have made admissions of misconduct

regarding Alphonso Pinex that would corroborate the Cook County Special State's

Attorney findings. For example, it can be deduced that during his grand jury

testimony, McDermott admitted to lying about his abuse of Pinex.             Obtaining

McDermott's federal grand jury testimony is especially vital because that testimony

may have been the only time McDermott has been forthcoming about his history of

abusing suspects.
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       10.   For example, with regard to Alfonso Pinex, McDermott "acknowledge[d]

 in front of the federal grand jury that he had in fact lied and perjured himself .. .

 during the course of giving testimony" at Pinex's motion to suppress. McDermott also

"incriminated himselfby admitting that he had abused Mr.Pinex without provocation"

 during his grand jury testimony. United States v. Burge, 08 CR 846(N.D. Ill)(Report

 of Proceedings of June 14, 2010, at pages 92-93, 96). At Burge's trial, however,

 McDermott tried to retract those admissions,testifying instead that Pinex claimed that

"there was abuse done during the interrogation, and I answered honestly that there

 was not." Id. at 104; see also id. at 104-05 (denying that he ever struck Pinex during

 his interrogation); id., at 14 ("[McDermott's] testimony is different than what he has

said at grand jury ....").

       11.    In his immunized testimony at Burge's trial, McDermott also admitted

that when he gave a statement to OPS Investigator Veronica Tillman regarding

allegations of abuse made by Area 2 custodial suspect Shadeed Mu'min, McDermott

"wasn't completely truthful." United States v. Burge, 08 CR 846 (N.D. Ill)(Report of

Proceedings of June 14, 201Q, at page 131). McDermott admitted that he had "lied" to

Investigator Tillman "about a couple things." Id., at 39. He acknowledged he had

witnessed Burge do something "inappropriate" to Mu'min, and as a sworn law

enforcement officer, should have done something about it, but did not. Id.

       12.   Illinois courts of review have held that a police officer's history of abusive

practices is relevant and admissible to establish, inter alia, the officer's course of

conduct during custodial interrogations, as well as to impeach the officer's credibility

should he deny engaging in such abuse. See, e.g., People v. Patterson, 192 I11.2d 93, 145

                                           -5-
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(2000); People v. Banks, 192 Ill. App. 3d 986, 994(lst Dist. 1989)(Evidence that Area

2 detectives beat another suspect during his interrogation is relevant as it "tends to

show the conduct that these two police officers employ in interrogating suspects who

 are in custody, and such evidence is therefore probative as to the conduct they

employed in the present case to obtain defendant's confession.");People v. Cannon,293

Ill. App. 3d 634,640(1997)("(E)vidence of other similar acts could be used to impeach

the credibility of the Area 2 police officers whp will testify at the hearing."). See alsq

People v. Phillips, 95 Ill. App. 3d 1013, 1019-23 (lgt Dist. 1981); People v. Lenard, 79

Ill. App. 3d 1046 (1St Dist. 1979).

       13.    Because of the importance to Harris's pending post-conviction

proceedings of McDermott's admitted perjury in the Pinex case, his admission to

lying during the investigation of his misconduct in the Mu'min case, and any other

admissions of misconduct McDermott may have made to the federal grand jury or

federal investigators in connection with the Burge prosecution, undersigned counsel

for Harris in good faith believes that the materials sought pursuant to subpoena to

the United States Attorney's Office are relevant and material to those proceedings.

Harris seeks those materials so that at the evidentiary hearing ordered in his post-

conviction proceeedings, he can corroborate his allegations that he was coerced by

McDermott, and can impeach McDermott's credibility should McDermott testify at

the evidentiary hearing and deny the allegations of coercion.

       14. Undersigned counsel for Harris has a copy of McDermott's publicly

available trial testimony in the Burge case, but is unable to obtain transcripts of

McDermott's grand jury testimony or any related statements or admissions made
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 by McDermott to federal investigators in connection with the Burge case, without

 the Government's compliance with the subpoena duces tecum issued to the United

 States Attorney's Office by order of the Circuit Court of Cook County in Harris's

 pending post conviction cases.

       15.    Especially instructive on the relevancy to Harris's pending post-

conviction proceedings of McDermott's federal grand jury testimony and other

statements he made in connection with his involvement in the Burge case is the

opinion of the Illinois Appellate Court in People v. Mitchell, 2012 IL App (lst)

 100907. In Mitchell, the appellate court reversed the trial court's dismissal of the

petitioner's successive post-conviction petition and remanded the case for an

evidentiary hearing on the claim that the petitioner's confession should have been

suppressed as the product of coercion at the hands of Det. McDermott. The

appellate court found that the newly discpvered evidence on which the petitioner in

Mitchell relied showed that the denial of his motion to suppress was based on the

testimony of McDermott, who had "committed perjury in similar cases to persuade

courts to admit into evidence coerced statements." Mitchell, 2012 IL App (lst)

100907 at ¶2.

       16.    The newly discovered evidence upon which the petitioner in lt~itchell

relied consists of much of the same evidence on which Harris relies in his pending

post-conviction cases. That evidence, as described by the court in Mitchell,

"relate(d) to the pattern of extensive criminal conduct committed by police at Area

2." Mitchell, 2012 IL App (lst)100907 at ¶33. The ~l/litchell court specifically



                                          -7-
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 referenced the 2006 Report of the Special State's Attorney. The Court noted,

              In 2006, special prosecutors reported about a pattern of criminal
              conduct committed by officers at Area 2, including McDermott.
              The special prosecutors specifically reported that they found
              convincing evidence, sufficient to prove guilt beyond a
              reasonable doubt, that McDermott battered suspects and
              committed perjury about the suspects' alleged confessions.


              Mitchell, 2012 IL App (1st)100907 at ¶60.(emphasis added)


The Mitchell court also concluded that the newly discovered evidence established

that the petitioner had been prejudiced, in that "evidence of McDermott's prior

perjury probably would change the result. on retrial." Mitchell, 2012 IL App (1$t)

100907 at ¶61. See also at ¶ 62("The evidence of McDermott's perjury in similar

cases involving alleged confessions significantly shifts the balance of credibility in

the contest between McDermott's testimony and [Mitchell's] and [his mother's]

testimony about the voluntariness of his statements.")

Conclusion

       17.   Harris's request for McDermott's federal grand jury transcripts and

related documents are relevant to his pending state post-conviction proceedings

because:(1) should McDermott invoke his Fifth Amendment right against self-

incrimination at Harris's post-conviction evidentiary hearing (as he did before the

Cook County Special Grand Jury investigating the Area 2 torture scandal) rather

than expose himself to perjury and obstruction ofjustice charges by testifying

falsely, his prior grand jury testimony would be admissible as substantive evidence

to corroborate Harris's allegations of abuse; and (2) should McDermott testify at the
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evidentiary hearing and deny misconduct, his prior grand jury testimony would be

admissible as impeachment; and (3) McDermott's grand jury testimony may be

necessary to refresh his recollection as to misconduct he is alleged to have

committed more than 20 years ago.

       18. The contents of this affidavit are true and correct to the best of my

knowledge and belief.




SUBSCRIBED and SWORN TO before me
this 26th day of February,2015.

                        ~Q-
      NOTARY PUBLIC

                   ~ffic~ai Seal
                Carol M Chatman
           Notary Public State of Illinois
        My Commission Expires 08/14/2016
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                                 APPENDIX F
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     {~1~NTp~,Jt.                                       U.S. Department of Justice
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 A               ~
 ~F              x
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    ~~~~                                                United States Attorney
                                                        Nor°thee°n Dzstrict ofIllznor,s
James M Kuhn S'r.                                       Dirksen Federn(Courthouse                     Phone:312-353J87i
iissista~rt 1,/nrted Stales f(t/oi•ney                  219 SoutF~ Uearfiorn Street, F'rfth Floor      !'ax: 312-886-3501
                                                        Chicago, !llir~ois GOGOd                    fames.kuhn(a~:rsdnj.gov


                                                        March 2, 2015

Charles W. Hoffman
Oftice of the State Appellate Defender
203 North LaSalle Street, 24tH Floor
Chicago, Illinois 60601

                Re:       Subpoena to United States Attorney's O~iice in People of~ the .State of~ Illinois v.
                          Ralph Hare°is, No. 95 CR 27596-01 (Circuit Court of Cook County) dated
                          January 8, 2015

Dear Mr. Hoffman:

       This office has received your subpoena dated January 8, 2015, requesting statements
made by Michael. McDermott in the course of the investigation nn United States v. Burge, No. 08
CR 846 (N.D. Ill.). There was no relevancy statement accompanying the subpoena, but upon
our request you furnished a relevancy statement and letter that was received on February 27,
2015. Based on that submission, we determined that the requested documents are relevant to
your legal proceeding.

       Taking into the consideration the subpoena, the relevancy statement, and the factors listed
in 28 C.F.R. § 16.26, it has been determined that any responsive documents located cannot be
produced pursuant to 28 L.F.R.§ 16.26(b)(1) and Fed. R. Crim. P. 6(e). Therefore, we will not
be producing any documents in response to your subpoena.

        This will be our complete disclosure as the federal regulations permit. In the event you.
are not satisfied with this decision once actual disclosure is made,judicial review of the decision
is available exclusively by way of a separate suit filed in federal court under the Administrative
Procedure Act, 5 U.S.C. § 701, et seq. See Edwa~°ds v. U.S. Department ofJuslice, 43 F.3d 312
(7th Cir. 1994); I/nited States v. YVillicrm.s, l 70 F.3d 431 (4th. Cir. 1999).
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       If there are any questions, please contact the undersigned Assistant United States
Attorney at(312) 353-1877.


                                         Very truly yours,

                                         7ACHARY T. FARDON
                                         United States Attorney


                                            JAMES M. KUHN,Sr.
                                            Assistant United States Attorney
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  UNITED STATES OF AMERICA,

                  Plaintiff,                     )               Case No: 08 CR 846

                  v.                             )               Judge Joan H. Leflcow

  JON BURGS,                                     )

                 Defendant.                      )


                                t   •'       1       ~'    ~'.    •'.1

         Keith Mitchell has petitioned to intervene in the above-captioned case pursuant to Federal

 Rule of Civil Procedure 24 and seeks transcripts ofthe grand jury testimony of a former Chicago

 police officer, Michael McDermott. (Dlct. 434.) Mitchell asserts the grand jury transcripts are

 necessary to his success in his postconviction proceedings in Illinois state court. For the

 following reasons, Mitchell's petition is granted and the Office ofthe United States Attorney for

 the Northern District of Illinois shall release to Mitchell some, but not all, of the grand jury

testimony he seeks.,Specifically, the U.S. Attorney's Office shall provide Mitchell with pages 16

through 28 of McDermott's grand jury testimony from September 25, 2008 as it relates to

McDermott's interactions with Alfonzo Pinex because it is directly relevant to Mitchell's claim

that McDermott has mistreated detainees and perjured himself.
                                   ~ACKGI20Ule1i)

        Keith Mitchell was convicted about 20 years ago of murder and aggravated battery, largely

on the basis of what h~ asserts was a coerced confession. Mitchell asserts that in 1992, when he was

15,then-Chicago police detective McDermott questioned him outside ofthe presence of Mitchell's

mother or a lawyer, intimidating and threatening Mitchell into confessing. Ike further asserts that
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 McTT~ermott perjured himself at the suppression hearing on the confession when McDermott denied

 coercing Mitchell into confessing and testified that Mitchell asked to confess outside ofhis mother's

 presence.

         In May2012,the Illinois Appellate Court reversed in partthe trial court's denial ofMitchell's

 petition for postconviction relief and granted Mitchell apost-conviction evidentiary hearing on

 whether Mitchell's confession should have been suppressed. See People v. Mitchell, 972 N.E. 2d

 1153, 2012 IL App (lst) 1009Q7,362 Ill. Dec. 120(2012). The circuit court then granted Mitchell

 permission to subpoena the United States Attorney's Office for this district for documents relating

 to McDermott's statements or testimony in connection with the above-captioned case, which

 Mitchell did. The United States Attorney's Office declined to provide Mitchell with McDermott's

grandjtuy transcripts, citing Federal Rule of Criminal Procedure 6(e)and 28 C.F.R. § 16.26. (Dkt.

434, Ex. 2.} Mitchell now seeks to intervene in this case to obtain the grand jury transcripts.

        Following the December 18,2013 hearing(see dkt. 436),the court reviewed the transcripts

in camera. See Lucas v. Tuner,725 F.2d 1095, 1103-04(7th Cir. 1984)(district court required to

review grandjury testimony to determine relevant portions,ifany). A portion ofthe transcripts deals

with McDermott's interactions with an individual named Alfonzo Pinex when Pinex was brought

in for questioning at the Area 2 police station, to which McDermott was assigned. The questioning

ofPinex is one subject of a report published by special prosecutors assigned to investigate crimes

committed by police at the Area 2 station. According to the report,there was"convincing evidence,

sufficient to prove guilt beyond a reasonable doubt,that McDermott battered suspects and committed

perjury about the suspects' alleged confessions." See Mitchell, 972 N.E. 2d at 1163. The report

details Pinex's abuse at the Area 2 station. (See dlct. 434, Ex. 6 at, e.g., 279("McDermott started


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 to hit Pinex in his ribs [when Pinex was at the police station for questioning] and grabbed his legs

 so that Pinex could not move.").)

                                            l~Qc`y17:~~~i~~~'i7

          Rule 6(e) provides for grand jury secrecy. Fed. R. Crim. P. 6(e). Title 2~ of the Code of

 Federal Regulations, section 16.26, works in conjunction with Rule 6(e), providing that the

 Department of Justice will not disclose materials in response to a demand if so disclosing would

 violate Rule 6(e). 28 C.F.R. § 16.26(2014). Rule 6(e) allows the court to authorize disclosure of

 a grand jury matter in connection with a judicial proceeding, but the party seeking disclosure must

 meet a "deliberately stringent" three-part test to overcome the "distinct interests served by

 safeguarding the confidentiality of grand jury proceedings." Matter of G~cznd Jury P~oceeding-s,

Special Sept., 1986,942 F.2d 1195, 1198(7th Cir. 1991). The party seeking disclosure must show

that(1)the material he seeks is necessaryto avoid apossible injustice in anotherjudicial proceeding;

(2) the need for disclosure is greater than the need for continued secrecy; and (3) his request is

structured to cover only materials so needed. Douglas Oil Co. ofCa. v.Petrol Stops NW,441 U.S.

211, 221,99 S. Ct. 1667, 60 L. Ed. 2d 156(1979).

                                            AI~TAL3~~IS

I>       I~aterfal ~eedeci to avoid po~~ible injustice

         Mitchell has demonstrated that to avoid a possible injustice, he needs grand jury materials

wherein McDermott either admits to perjury or to physical abuse of a detainee. Having reviewed

the grandjury transcripts,the court concludes that the relevant portions have to do with McDermott's

interactions with Pinex.




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         In ruling on Mitchell's appeal,the Illinois Appellate Court specifically pointed to a Special

  State's Attorney report that includes information about McDermott's acts in the Pinex case(see dlct.

 434, Ex. 6), and stated that "evidence of McDermott's perjury in similar cases involving alleged

 confessions" as "significantly shifting] the balance of credibility in the contest between

 McDermott's testimony and [Mitchell and his mother's] testimony about the voluntariness of his

 statements." Mitchell, 972 N.E. Zd at 1164. In fact, the court found "that the new evidence of

 McDermott's perjury probably would change the result of the motion to suppress [Mitchell's]

 statements," which would likely have changed the course of the case, given that the state "had.no

 case against[Mitchell) at all" without testimony from prosecution witnesses who said he confessed

 to the murder. Id. Thus,further evidence ofMcDermott's misdeeds,which would bolster Mitchell's

 claim that his confession was coerced, is highly relevant and necessary to his success on his petition

 for postconviction relief.'

        The government argued generally at the December 18 hearing that Mitchell already has all

the evidence he needs about McDermott because he was examined and cross-examined at the trial

of Jon Burge the Burge trial (see dlct. 396 at SS-209), so any lack of truthfulness or past abuse is

already in the public record. The court acknowledges that McDermott was impeached at the Burge

trial with his grand jury testimony regarding Pinex, and he did admit some physical contact with

Pinex at trial. (See dkt. 434, Ex. 4 at 26-35.) The court also acknowledges that the report by the



       ' As Mitchell notes, the Illinois Rules of Evidence do not apply to postconviction
hearings, see Ill. R. Evid. 1101(b)(3), and a court hearing a petition for postconviction relief may
receive proof"by affidavits, depositions, oral testimony, or other evidence." 725 Ill. Comp. Scat.
5/122-6. Moreover, the Illinois Supreme Court has stated that "hearsay evidence is admissible
during a motion to suppress." People v. Patterson, 735 N.E. 2d 616, 628, 192 Ill. 2d 93, 249 Ill.
Dec. 12(2000).

                                                  D
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 special prosecutor who was appointed and ordered to investigate arrests, including Pinex's, points

 to McDermott's misdeeds. (S'ee id., Ex. 6.) IZ.egardless, having reviewed the grand jury transcripts

 in cainercc,the court finds that McDermott's grandjury admissions go beyond information presented

 at the Surge trial and in the special prosecutor's report. The court thus disagrees with the

 government's argument that Mitchell already has all the information he needs in the public record.

         Mitchell also argues that he needs McDermott's grandjury testimony to assure the reliability

 ofthe grand jury witness's testimony if McDermott testifies at Mitchell's evidentiary hearing. The

 Seventh Circuit has explained that this is a proper use for grandjury testimony. See Lucas,72S F.2d

 at 1104. Mitchell has shown here that this is a highly relevant consideration, especially in light of

 the fact that McDermott has previously perjured himself and even gave testimony at the Burge trial

 that was inconsistent with his grand jury testimony. (See generally dlct. 434, Ex. 4.)

        As Mitchell points out, the Seventh Circuit has also noted that grand jury testimony maybe

used to refresh a witness's recollection. Lucas,72S F.2d at 1105;see also Williams v. O'Meara,No.

82 C 278, 1987 WL 10305, at *2(N.D. Ill. Apr. 30, 1987)(affirming magistratejudge's decision to

release grand jury testimony where witness indicated during deposition he could not remember

something but that his grand jury testimony could help jog his memory). Given that the events in

question here occurred roughly two decades ago and McDermott gave his grandjury testimony over

five years ago, it is reasonable to conclude that McDermott might need to rely on grand jury

testimony to refresh his memory.

       Additionally, it is possible that McDermott will refuse to cooperate or will involve his Fifth

Amendment rights not to testify. In the case of a hostile or uncooperative witness, grand jury

testimony is "properly discoverable." Williams, 1987 WL 10305, at *2. Moreover, this testimony


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  may help Mitchell to impeach McDermott if he does choose to testify. McDermott demonstrated

  at the Burge trial that he is wont to give inconsistent answers to similar questions. Having the grand

 jury testimony will help to reduce this risk.

 IIe     Wtaethe~° the need fog- di~clo~ure ~~ greater than tl~e need for c~nfinued secrecy

         At the hearing in December, the government argued that even though more than eve years

 have passed since McDermott's grand jury testimony and the Burge case has concluded,secrecy is

 still an important consideration. The court must balance Mitchell's need for the grandjurytestimony

 against the "need for continued secrecy." Lucas,725 F.2d at 1106(citing Douglas Oil, 441 U.S. at

 222). Among the reasons for grand jury secrecy are to ensure "that prospective witnesses come

 forward voluntarily; that one who testifies before a grand jury does not fear reprisal, and,therefore,

 testifies `fully and franl~ly'; that the indicted does notflee(because he is not aware ofthe indictment)

 or `try to influence individual grand jurors to vote against he indictment; and that individuals

 exonerated by the grandjury are not publiclyridiculed." West v. United States,No.08 CR 669,2010

WL 1408926, at *3(N.D.Ill. Apr.5,2010)(quoting United States v.Sells Eng g,Inc.,463 U.S.418,

424, 103 S. Ct. 3133, 77 L. Ed. Zd 743(1983)). Moreover,"[t]he grand jury as a public institution

serving the community might suffer ifthose testifying today knew that the secrecy oftheir testimony

would be lifted tomorrow." United States v. Proctor c?~ Gamble Co., 356 U.S. 677, 682, 78 S. Ct.

983,2 L. Ed. 2d 1077(1958).

        Where the "secrecy considerations are less relevant, the burden on [the moving party] is not

as strong." West, 2010 WL 1408926, at *5 (citing Douglas Oil, 441 U.S. at 223). The need for

grandjury secrecy is diminished once the grandjury has fulfilled its duties or when the criminal case

is concluded. See, e.g., United States v. CalabYese, No.06 CR 239,2010 WL 3613973, at *5(IV.D.
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  Ill. Sept. 8, 2010);In re Petition ofMoo~e, No. ~0 C 450, 1985 WL 2357, at *3 {N.D. Ill. Aug. 20,

  195). Even as secrecy considerations lessen, however,"the requirement that[the petitioner] show

  that the materials are necessary to avoid injustice is only diminished; it is not abrogated altogether."

 Hernly v. United States, X32 ~'.2d 980, 985 (7th Cir. 1987); see also Lucas, 725 F.2d at 1107.

         The need for secrecy here does not outweigh the injustice that would result from denying

 Mitchell the transcript excerpt. The Burge trial has concluded;Burge was sentenced in January2011

 (see dlct. 362), the Seventh Circuit affirmed his conviction, and the Supreme Court denied his

 petition for a writ of certiorari. See United States v. Binge, 711 F.3d 803 (7th Cir. 2013), cent.

 denied, 134 S. Ct. 31S (2013). The United States Attorney has already petitioned for grand jury

 material to be released to third parties in this case, and the court has granted those petitions. (See

 dlcts. 376,383,409,414.) For these reasons,and because Mitchell has demonstrated substantial need

 for the grand jury material, the court finds that the secrecy interests do not outweigh the need for

 disclosure.

III.    Structuring of the a~equest

        Mitchell's request is limited to two grand jury sessions and the court's order winnows that

down to thirteen pages of transcript from one session. In other words, this is no "general fishing

expedition into the grand jury proceedings." United States v. Balogun, 971 F. Supp. 1215, 1232

(N.D.Ill. 1997)(denying request for testimony of witnesses appearing before grandjury, transcripts

of all statements made to grand jury by prosecutors, record of votes cast by members of grand jury,

and- all documents submitted to grand jury). Mitchell presents compelling reasons for this request,

as discussed above.




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           Moreover, the court has reviewed these transcripts in cafnera and has determined which

  portions are relevant to Mitchell's argument that McDermott's pattern of mistreating individuals in

  custody, namely,portions that have to do with McDermott's treatment ofPinex. This further cabins

  the disclosures to be made to Mitchell and ensures he will only receive materials for which there is

  a "compelling necessity." Procter c& Gamble,356 U.S. at 682.

          Finally, the court appreciates the government's argument that granting Mitchell's request

  could potentially open the floodgates to other grandjury material request. Though the.government's

 institutional concern is well-taken, administrative convenience cannot prevail over Mitchell's

 compelling arguments for release of the grand jury testimony.



          For~the foregoing reasons, Mitchell's petition to intervene (dlct. 434)is granted and Mitchell

 shall receive a portion ofthe grand jury materials he seeks. The United States Attorney is directed

 to provide Mitchell's attorney, by January 31, 2014, with pages 16 through and including 28 of

 McDermott's grand jury testimony from September 25,2008.2 The materials shall be for attorney's

 eyes only until January 2S, 2014 to permit the government to submit a proposed protective order.



Date: January 17, 2014
                                                               . District Judge o n H. Leflcow




           Having determined that Mitchell is entitled to this portion of the grand jury transcripts, the
court does not reach MitcheIl's additional argument that the U.S. Attorney's denial of his request was
arbitrary and capricious pursuant to the Administrative Procedures Act.
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                                 APPENDIX H
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                  STATE OF ILLINOIS         )

                  COUNTY DE COOK
                                                    Ss                               ~u~ i ~ ~9~s ~~~
                                            )
                                                                     ~      AURELfA PUCINSKI
                                                                          ~L~ERK OF THE CIRCUIT
                                        IN THE CIRCUST COURT OF COOK COUNTY CRtMiNAL             COURT,
                                                                                         DiViSiOty
                                               CRIMINAL DIVISION

                  PEOPLE OF THE STATE OE ILLINOIS            )

                                     -vs-       ~            }      No.   95-CR-27594-600
                                                             }            95-CR-27818
                  RALPI-~ HA~2RIS                            )            9S-CR-27821
                                                                          95-CR=28738


                                                                                                       ~--
                                    AMENDED MOTION TO SUPPRESS STATEMENTS

                        Now comes the defendant, RALPH HARRIS, by his attorney,

                  RIBA A. FRY, Cook County Public D.e~'ender, by GEORGE GRZECA and

                  STEPHANIE HIRSCHBOEK, Assistant I'ubl.ic Defenders, and moves -

                  this Honorable Court to suppress as~evidence herein any and all

                  oral or written communications, confessions, statements, or

                  admissions, whethex inculpatory or exculpatory, made by the

                 defendant prior to, at the time of, or subsequent to his arrest

                 in the above-entitled cause.

                       In support of this motion, 'the defendant states as follows:

                       1.    That -the defendant was arrested by the Chicago Police

             "Department.                            ,

~~                     2.    Thai subsequ~n.tly the defendant was interrogated by

                 law enforcement of.~icial.s ox- a person or persons acting on

                 their behalf, including

                      3_     That the statements sought to be suppressed were

                 obtained as a result of irztezx'ogation which continued after the

                 defendant had elected to remain silent and/oi- had elected to

                 consult with an attorney prior to further ques~ioninq in
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 violatio~~ of the 5th and 14th Amendments to the Constitution

 of the United States.       The detective's show him palaroids

 (photos) of Patrick Bxunt with their arms around him and

 telling 'the defendant that he would bury him.

        4.'     That the statements sought to be suppressed were

 obtained as a result of interrogation which took place outside

 the p~asence of counsel and after the defendant had beers

 formally charged with an offense and after the appearance of
                                                                                     ~--   -
 counsel.had been entered. of record in violation of the 6th .and

 14th Amendments to the Una.tecl States Constitution, a.n case r1o.

 95-CR-28738.

        5.     That the s~tatemen.ts sought to be suppressed were

 obtained as a result of physical coercion illegally direc-~ed

against the defendant and that such statements were 'therefore,

involuntary ix1 violation of the 5th & 14th Amendments ~tp the

Unified States Constitution.       To wit:    Detective Boylan, Star#

2Q321, and Detective McDermott, Star# 20364, hit the defendant

faith their fists in the stomach,' and also about the head and

neck.      They also pJ.aced a gun. to his head and mouth ai~cl hit him

wi.~h a phone book.

      6.       That the statements sought to be suppressed were

obtained as a result of psychological. and mental coerc5.on

illegally da.rected agaa.nst the defendant and that such

statements were, therefore, involuntary in violation to the 5th

arzd 14th Amendments to the United Stakes Con.stitui~io~~.,

To wit:       Detective Yucai~is, Star# 20434, told the defendant

that Yie would arrest and charge his girlfriend Angie Clark who
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                 was present at the station.          He also told. the defendant that

                 after her arrest he would have their children placed with the

                 Department of Children and Family Services.

~"~     ~~~ ~
                ,o.a~                        a   men s soug    o            suppr sse

                 ob"tamed as tl~.e ~p,roduc~ of and as the result of con                orzting the

                 accused with certain evidence which had bee                   tamed in

                 violation of the defendant`s Fourth           endmen.t protecta.on

                 agaa:nst illegal search and se'         re.

            •            8.   That the~s~t       meat sought to be suppressed wexe

                 obtained as th      roduct of and as the direct and proximate

                 result       confron~9.n.g the accused with the r.ertain material

_,,.~            mi     epresentations zn violatzon of the Sth and 14th Amendments



                        9.    Therefore, that any and all communications,

                 confessions, statements, admissions, ar tests executed by the

                 the defendant were elicited a.n violation of hi.s cozistitutional

                 rights under the E'ourth, Fifth, Si~cth anal Fourteenth Amendments

                 to the Constitution o~ the Stake of I1lznois.

                              ~RErORE, the defendant prays:

                        1.    ~'ha~ the Caurt conduct a pretrial hearing~to

                determine zf the nature of such statements were voluntary, and;




                                                                   r.   ;
                                                                        a
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     2.    That this Court suppress as evidence herein any and

all communications, confessions, statements,- admissions,

gestures, or tests, inculpatory ox exculpa~ary, writ~ezz or

oral, made by him at the time of and/or subsequent to him being

taken into custody.




                                  Respectfully submitted,

                                  RITA A. ERY
                                  Public Defender of Cook County


                                  BY: GEORGE GRZECA
                                  AGsistant Public Defender 30295



                                  STEPHANIE HIRSCHBOECK
                                  Assistant~Public Defender 30295
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   Case: 1:08-cr-00846 Document #: 442-1 Filed: 05/05/15 Page 74 of 77 PageID #:8434
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                            LINITEI3 STATES I~ISTI~ICT COITIZ`T
                            IVOATHERN DISTRICT OF ILLII~tOIS
                                   EASTERN I3I~IISION

  UNITED STATES OF AMERICA

                               Plaintiff,
                       v.
                                                          • 1:     :~:
  JON BUR.GE

                              Defendant,                Judge Joan H. Lefkow



  KEITH MITCHELL

                                 Intervenor.   ~

                PROTECTIVE ORDER FOR MATERIALS
         PRODUCED BY THE UNITED STATES ATTORl\TEY'S OFFICE

       This matter having been presented to this court by petition filed by intervenor

 Keith Mitchell, and this court having ruled on January 17, 2014, that the United States

Attorney produce pages 16 through 2~ of Michael_ McDermott's September 25, 2008

grand jury testimony pursuant to the terms of this protective order,

       IT IS ORDERED that pages 16 through 28 of Michael McDermott's

September 2S, 200 grand jury testimony may be disclosed subject to the terms and

conditions ofthis protective order.

       This protective order applies to all responsive documents identified above. The

.protection granted by this order shall encompass the entire disclosure. any material

containing protected information that is provided to counsel for intervenor is to be .
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    Case: 1:08-cr-00846 Document #: 439 Filed: 01/24/24 Page 2 0~` 4 PagelD #:8340



  identified on the outside of the sealed parcel containing the protected information with a

  legend stating: "PIZOTECTEI~ 1VII~TERIAI, EI~CI,OSED99.                 Upon receiving the

  protected material, counsel for intervenor is responsible for abiding by the terms and

  conditions of this protective order.

         Counsel for the intervenor will be provided with a single copy of protected

  material, except as otherwise agreed to by the United States Attorney. The protected

  material is only for use in the case entitled People of the State of Illinois v. Keith

 Mitchell, No. 92 C 19459 (Circuit Court of Cook County). Intervenor's attorney may

 provide one copy of any protected material to the State's Attorney only after the State's
          ..--
 Attorney has agreed in writin~o ab_~ide by the t._ erms his_»r~tPctivP nrriPr and may

 otherwise make additional copies only to be filed with a brief or other document pr

 material to be filed with the court.

        Disclosure of the material or information contained therein is to be limited to:(1)

the court; (2) counsel for intervenor and any professional, paralegal and clerical

personnel who are engaged in assisting counsel in People v. Mitchell, IVo. 92 C 19459;

{3) any person not employed by, or under contract with the intervenor who is retained by

the attorneys for the intervenor as a consultant or expert witness to assist in People v.

Mitchell, No. 92 C 19459; and (4) any other person whom the court has deemed to be

entitled to view the protected material.

       I~10 protected material that is incorporated into a brief ox as an exhibit to any court

filing shall be filed with the court unless(1) it is filed under seal, or(2) written notice has
                                              2
  Case: 1:08-cr-00846 Document #: 442-1 Filed: 05/05/15 Page 76 of 77 PageID #:8436
    Case: ~:08-cr-OQ846 Document #: 439 Filed: 01/24/1~~ Page 3 or 4 PagelD #:8342



  been provided to the United States Attorney and the LTnit~d States Attorney does not

  objet to the filing. If the United States Attorney objects, then the filing party and the

  United States Attorney shall meet and confer, and if unable to resolve the objection, the

  matter shall be brought before this court for resolution.

         No protected material may be disclosed .to a consultant or expert witness unless

 the individual has been designated in writing to the United states Attorney at least five

 (5) business days in advance of any disclosure of protected material to such individual.

 If objection is timely made, no protected material may be divulged to a consultant or

 expert without court approval. Disclosure shall not be made, in any event, to any

 consultant or expert unless the consultant or expert has signed anon-disclosure

 agreement with the retaining attorney.          This non-disclosure agreement shall, at a

 minimum, require the individual to abide by the terms of this protective order and

prohibit both the use, and the disclosure, of any information or knowledge received

subject to this protective order except in connection with People v. Mitchell, No. 92 C

19459.

       Protected material received by counsel for the intervenor, or the information

contained therein, is to be used only for the subject matter ofPeople v. l~litchell, No. 92 C

19459.    Within fourteen calendar days after a final decision on the merits in People v.

Mitchell, I~1o. 92 C 19459, ali protected documents in the possession of intervenor's

counsel and the State's Attorney shall be returned to the United States l-attorney, or with

the prior wrii~ten agreement of the United States Attorney, retained under the terms of this
                                             3
  Case: 1:08-cr-00846 Document #: 442-1 Filed: 05/05/15 Page 77 of 77 PageID #:8437
    Case: 2:08-cr-00846 Document #: 439 filed: 02/24/14 Page ~ of 4 PagelD #:8342




 protective order for such period as may be agreed. In the absence of such agreement

 and for good cause shown, the brief pe~ciod for retention of this material may be extended

 by order of the court.

        This order does not prevent the United States Attorney from asserting any other

legally cognizable privilege to withhold any document or information. Upon agreement

of the parties, o~c by further order of court, the terms of this protective order will apply to

subsequently disclosed documents properly marked.

       This order is considered an order of a court of competent jurisdiction for purposes

ofthe Privacy Act, 5 U.Q.C.§ 552a(b)(11).

       Any allegations of abuse or violation of this order will be considered by the court

either for purposes of determining whether it should enter sanctions, including a

contempt of court order, or fox purposes of determining whether or not the matter should

be referred for appropriate possible disciplinary proceedings, or both.


Date: January 24, 2014




                                           UNITED STATE DISTRICT JUDGE
